Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 1 of 65




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        Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 2 of 65




   f ITLÊ                                 Justinfs practice focuses on a wide-range of clvil lltlgatlon môtters, lncluding employment,

   Assocrole                              eonstructlon, business and lort litigat¡on. Priof to joining Dowling Aaron, he was an associate w¡th a
                                          law flrm In Oakland, Callfornla, where he represenled general contractors In constructlon defect                                  :i
                                          môttets,
    PRACTICE AREAS

    Busfness & Tort Litlgation
                                          Just¡n was selected by Super Lawyers as a Northern Cal¡fornia Rlslng Star, representing lhe top ?"5
    Construct¡on Law and Lit¡gâtion
                                          percent of young lawyers ln Northern California as voted on by his peers ín 2016'
    Êmploym€nt Law

                                          Professlonal Afilllatlons & Membershlps
    EÞUCATION                             . Alãmeda County Bar Assoclatlon
    8.S., University of Utah, 2009



    J:,Dr, McGeorge School olLaw, 2Ol2:



    ADMITTED TO PRACTICE IN

    Côliforniâ,2013


    CONTAqT
   jthomas@dowl¡n gaaron.com
    (661) 716-3000

    wwwdowlingaaron.com




                                              Superlawyers
                                                Justln L. Thomts

                                               Supcrl.awycrs.cÞm



                                                                                                                                            SACRAMENTO
DCIWLING; | .a''tr;:*r'*                  FRESNO                              VISALIA                     8Al(ERSFIELD

                                          EoEO North Palm 4v6,, fhlrd Floor   4O3 Norlh Flor€l 5r,        5080 C6llfo¡nl6 Ave., sulls 340   3721 Oougls! Blvd., Sulte 280

                                          Fresno, Collloanl¡ 93711            Vlsâlls, C6¡llornla 93291   Bõke¡rtleld. câllfornl6 933o9     Rosev¡lle, C6llforn¡o 95661
                                                                              (559) 739-7200              {661} 716-300O                    (916) 791.4500
                                          {559} 4324500
Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 3 of 65




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       Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 4 of 65




   TITLË                                    Mlcah Nllsson ls mônaglng shôIeholder of lhe Bôkersfleld off¡ce and Co-Chalr of the flrm's Oll, Gas

   Shsteholder                              and Ënergy Paactlce Group. His litlgation prôctlce focuses on complex buslness, employment ðnd

   Energy, Oil, Gos & Mlnerol Ldw
                                            lntellectual property. Hls tr8nsoctlonsl work lnvolves entlly formatlon, contract and lease revlew

   Ptoctlce Group Co-Chol r
                                            Mr. Nilssonrs acllve commerciðl litlgatlon pract¡ce includes ôntl-trust ônd unfair buslness clâlms,
                                            conlract dlsputes, real estâte, conslruction defects ônd tott litigation. He ôlso lltlgates intellectual
   PRACTICE.AREAS
                                            property infringement matters includ¡ng trademðrks ônd trade secrets. Mr Nilsson ôlso fepresenls
   Agr¡-Business
                                            employers ln ð widê array of employment mâtters, including lâyoffs, hêtassment and discrlmlnation
   Busíness & Tort L¡tigation
                                            complalnts, and employeê dlsclpline proceedings..Mr. Nilsson lit¡gates matters ln both federal ðnd
   Conslfuction Law and Lltigatlon          state court ôs well ôs numerous ôdmlnistrôtlve forums'
   Employment Law
   Energy, Oil, Gas ðnd Mlneral Lôw         Prior to joining Dowling a6ron lncorporated,. Mr. Nilsson worked with Lozano smith, where hë
   Publ¡c Agêncy                            âsslsted publlc employers in labor ând employmenl mâtters, fôcilltles snd business matters, and all
   Reêl Estate & Land Use                   aspects of llt¡gailoñ. Mr, Niìsson also has expeiience with environmental permitting, includlng
                                            preparlng CEQA documents and Public Works Plans.

   EÐUCATION
                                            Mr. Nllsson ls sn effectlve negotlðtor ând hôs recålved numerous awards fo¡ hls negÔtlatlons' trlal
   BA., Brigham Young University -
                                            advocacy and cllent counsellng, lnclud¡ng advanc¡ng to the nationals for thê ABA Negoliat¡ons
   Hawôii.2002
                                            Competiilon. Mr. Nllsson enJoys working wlth entrepreneurial clients and has prôctical experience
   English & Psychology, Minor in
                                            from 5târt¡ng 6nd opersllng varlous small businesses.
   Organizstíonal Behåvior (Summa
   Cum Laude)
                                            Mr..Nilsson ts fluent tn spôntsh. He has llved in Bakersfleld, Monterey, Davis, san Dfego and san
                                            Lu¡s Obispo Cstifornla, as well ðs Chlle, Utah, ldaho snd Hawaii. He is ô Scoutmaster w¡th the Eoys
   J.D:, Unlversity of Cslìfornia, Dav¡s    Scouts ofAmerica and is a youth soccer coêch and referee..
   School of Law, 2007
   (Law Review; Journal of lnterna'tional   Professlonal Afflllatlons & Membershlps
   Law and Policy; Wltk¡n Awôrdi Publlc     . Californla Bâr Assoclatlon
   Serv¡ce Law Program)                     . Kern County Bêr Associâlion

                                            ' Assoclatlon of Southern Californla Defense Counsel
                                            . Assoclôt¡on of 8us¡ness Triðl Lawyers
   ÀOMITTEÞ TO PNACTICE IN
                                            . Legacy Famlly Seivlces, Chalrmôn of the Boãrd, Dlrector
   20O7, Callfornia
                                            . N8 Pedlôtrlc Brðln Tumor Foundôtlon, Treasurer, Dlrector

   CONTACT

   mn¡lsson@dowlingaaron.com

   t661) 716-300O
   www.dowlingaôron.com




DowLlNG I aø*¿{:r"¿                         FRËSNO                             VISALIA                    EAKERSFIELO                        SÀCRÁMENfO

                                            8080 North Psln avo,, Thkd Floor   403 NoÌlh Flor8l Sl.       5OÊ0 Cå,ltornì6 Ave. Sulle 340     3721 Douglss Blvd., sulte 28o

                                            Fresno. Csllfornls 93711           Vl3ðllâ, Côllfohl6 9329t   ts¡kci'f lold, Cåilf orn¡o 93309   Rosêvlll€. Col¡lornl¡ 95661

                                                                                                          {661 716.3O00                      (916) 791-450O
                                            (5591 432-4500                     {ss9) 739-7200
Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 5 of 65




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    Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 6 of 65




                          QUALIFTCATIONS OF KAY D. BURNETT


I, KAY BURNETT, am employed by DOV/LING AARON INCORPORATED as a Paralegal. I
completed the ABA Approved-paralegal program at College of the Sequoias in 2001, receiving
my ABA Paralegal Certificate. I received my Bachelor of Arts degree, with honors, from
Chapman University in 2005. I am qualified as a Parclegal pursuant to Section 6450 of the
California Business & Professions Code. I have worked as a Paralegal in the field of civil
litigation, business litigation and real estate litigation under the direction and supervision of an
attorney since obtaining my paralegal certificate. I have completed all mandatory continuing
education required by Business and Professions Code section 6450(d) for the last two-year
certification period and am currently in compliance with the mandatory continuing education
requirements for Paralegals set forth under California law.

Dated: January 9,2018.
Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 7 of 65




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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 8 of 65


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   8                                       LINITED STATES DISTRICT COUR'I'

   I                              FOR TFTE EASTERN DIS'I'RICT OF CALXFORNIA

  10

  1l     COREY MIT'CI.IELL,                                No, 1 :1 3-cv-01324'DAD-EPC
  t2                          Plaintiff,
  l3               v                                       s¡ucra, ,Ij YFfiD IÇ't' rqljlM
  l4     G. CI-IAVEZand T, SI-IELDO}tr.,,

  l5                          Dcf'endants.

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  l7
  18               WË,'fFtE.lURY, in the above aetion, unaninrously find the follorving Special Verdict on
  19     the questions submitted to us:

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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 9 of 65


              L:13-cv-01324-DAD-EPG Document 160 Filed 0811-8/L7 Page 2 of 3

   I    I   , Do you lind by a preporrclera¡rce of tlre cvidence that the plaintiff Corey Mitcbell faced a
   2          substanlial risl< oi'serious har¡n on September 5,2011?

   J                     Yes:   Å                No: _
   4             lfyott ctnst¡,e¡,ecl "na" ta Que*ìon I skip tha remaining,queslíorrs anclsigtta¡td relurn lhis
   5   J'orm.

   6             If),ou cutsv,ered "yes" lo Quesl.ion I go to Queslion 2
   7

   B    2, Do you hnd by a preponderance of the eviclencc that any defb¡rdant was cleliberately
   I          indiflèrent to a substantial risk olserious harm to plaintiff Corey Mitchell on Septenrber 5,

  10          201 1, thal is, dicl any clefendant know of and disregald that risk by failirrg to take reaso¡rable

  ll          measures to address it, ilrereby causiug plaiutiff haul?

  t2                     ofhcer Chavez                    Ver: .X                 No:
  l3                     Lieutenant   Sheldon             Yes: X                  No: *
                                                                                        -
  l4             lfyou ansv,ered "na" to Queslíott 2 es la l:oth defendants, skip the renníning r¡uestions
  t5   and sign and rehn'n thi,r J'orm.

  l6             Uyou dnsv,ered "yes" lo tt,ry porl o,f Question 2 go lo Questíon 3.
  t7
  18    3. Whal is tl'¡e an:ount ol compensatory damages, ifany, yorì ale nwarcling lo plaintilf for the
  19          violation olil'ris constitutional lighis found in your answers to Questions I and 2?

  2A                     Oflicer Chavez          $

  2l                     Lieulenant Sheldon $

  22                                             Tornl.$ /A*Q,       AAe
  23             If you {ìnd for thc plaintitTagainst any clefcnclaut, buf also lincl that plaintiff s clamagos
  24   have l'lo morletary valuc, you must sct forth a nominal ârllount rìot to e xceed $ 1.00.

  25                     OlÏcel Chavez            S      -ã
  26                     Lieulenant Shelclon $
                                                         -æ
  11             Go to Question 4,

  28
                                                              2
Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 10 of 65


          I   ]ase L:13-cv-01324-DAD-EFG Docurnent 3.60 Filed 08/1811"7 Page 3 of 3
          I



     ,l 4. Do you.lrnd by preponderance of            the evidence that any defendant acted with nralice,

    ,l    I


                   oppressíon, or in reckless disregard of plaintitf Corey Mitchell's constitutional riglrts?

    3l                        Officer Chavez Yeü                             No, ,,, ,,,.
                                                        -}(-                                ,,


    4l                        Liþt¡tenant Shelclon Yes:
                                                        -f-                  Nol .'----._
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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 11 of 65




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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 12 of 65


      Case 1.,:L3-cv-01-324-DAD-EPG Document 73 Filed CIl-/03/l-7 Page L of 2
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  I                                        UNITED STATES DISTRICT COURT

  I                                      EASTERN DISTRICT OF CALIFORNIA

 10

 11   COREY MITCHELL,                                             Case No. I :l 3-cv-01 324-DAD-EPG-PC

 12                         Plaintiff,
                                                                  ORDER APPOINTING COUNSEL
 13          v.

 14   CHAVEZ, et al.,
 15                         Defendants.

 16

 17          Plaintiff Corey Mitchell, an inmate in the custody of the California Department of

 18   Corrections and Rehabilitation ("CRCR") has alleged a claim under the Eighth Amendment

 19   against Defendant Correctional Officer ("C/O") Chavez and Defendant Sergeant Sheldon f'or

 20   failure to protect. On December 15,2016, plaintiff filed a motion to appoint counsel. (ECF No.

 21   72.) The court finds that the appointment of counsel is waranted. Daniel O. Janrison, Justin L.
 22   Thomas, and Micah K. Nilsson have been selected from the court's pro bono attorney panel to

 23   represent plaintiffand have agreed to be appointed.

 24          Accordingly,IT IS HEREBY ORDERED that:

 25       l. Plaintiffls motion to appoint counsel is granted and Daniel O. Jamison, Justin L. Thomas,
 26          and Micah K. Nilsson are appointed as counsel in the above entitled matter,

 27      2. Appointed counsel shall notify Sujean Park at (916) 930-4278, or via email at
 28          ¡p¡rrlçltjtçgg1;l¿¡cco.ç.f,!-s.Ë_oJ   if they have any questions related to the appointment.

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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 13 of 65


          Case l":3.3-cv-01324-DAD-EPG Docurnent 73 Filecl 0X/03/1.7 Page 2 of 2
    1


    ?        3. The Clerk of the Court is directed to serve a copy of this order on Daniel O,. Jamison,
    3           Justin L. Thomas, and Micah K. Nilsson, Dowling Aaron Inc,, 8080 N. Palm Ave., Suite

    4           340, Bakersfield, CA 93309,

    5

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          IT I$SO ORDEREÞ
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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 14 of 65




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         Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 15 of 65



Jo Ann A. Alaniz

From:                          caed-cmecf-helpdesk@ caed.uscourts.gov
Sent:                          Wednesday, August L6,2017 8:42 AM
To:                            Cou rtMa il@caed.uscourts.dcn
Subject:                       Activity in Case l":13-cv-0L324-DAD-EPG (PC) Mitchell v. DaViga, et al. Jury Trial - Begun.


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                                               U.S. District Court

                                Eastern District of California - Live System

Notice of Electronic Filing

The following transaction was entered on8l16l20l7 at8:42 AM PDT and filed on8ll5l20l7
Case Name:           (PC) Mitchell v. DaViga, et al,
Case Number: 1;13-cv=01324-DAD-EPQ.
Filer:
Document Number: 154(No document attached)

Docket Text:
MINUTES {Text Only} for proceedings before District Judge Dale A. Drozd: JURY TRIAL begun
on 8/15/2017. Gourt issued the following rulings on the part¡es mot¡ons in limine: [110] -
Granted without prejudice        -Court reserved ruling; ¡1,,l2l -Granted in part, plaintiff may
                                lllll
enter into evidence one photograph of the vyeapon and shall provide defense counsel the
selected photograph forthwith; [113] -Granted; [114] -Denied as having been rendered moot by
the pretriat order; t1161 #1- Granted in part with defense counsel allowed to impeach plaintiff
only with the fact of his 2006 felony conv¡ct¡on and the date of imprisonment to the present
pursuant to that conv¡ct¡on , #2- Granted in general without prejud¡ce, #3 Granted without
prejudice, plaintiffs pr¡son disciplinary history itself is excluded from evidence; [115] [11491 -lf
defense intends to call Dr. Alexander M. Kushnier, they shall meke their best proffer as to
what the witness will testify to and, if it is determined the witness has relevant testimony to
give, the court will require that plaintiff produce all mental health treatment records that he
has received from CDCR to the court for in camera review before the Dr. is called. The court
intends to turn over all relevant mental health records to defense counsel if plaintiff intends to
call Dr. Kushnier as a witness. Thirty two prospective jurors present {oath previously
administered in jury assembly room), voir dire commenced at 1:51pm. Eight jurors \,vere
selected and sworn to try câuse at 4:58pm. Remaining prospective jurors were thanked and
excused. Jurors admonished, excused for the evening, and ordered to return at 8:30am
tomorrow morning. St the request of defense counsel, plaintiffs counsel was ordered not to
                                                          1
          Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 16 of 65


share summons with his client as they include home addresses.Jury Trial (Day 2)
CONTINUED to 811612017, at 8:30 AM in Courtroom 5 (DAD) before District Judge Dale A.
Drozd. Plaintiff Corey Mitchell present with Counsel Micah Nilsson an Justin Thomas.
Defendants Chavez and Sheldon present with Counsel Edgar Nield and Michael Terhorst.
Gourt ReporterlCD Number: Karen Hooven. (Gaumnitz, R)


1:13-cv-01324-DAD-EPG Notice has been electronically mailed to:

Daniel O. Jamison çfia¡nis.pn,(@do:vli:ngaaro¡,ctxn. hlvalton@dorvlìr.rg"aaron:çurlr

EdgarR.Nield er¡iekl@nietdley.c-qm, þwooclnrdlÐnieldlaw.ç, gnield@nieldlaw,ççm
Gabriel le Desantis-Nield gt&ld@$sldbr,rlggl& bwooda¡:d@n iel d law. com

Justin L. Thomas iths$raË@dqwl¡¡garrrsn.gatn, c ltoh m@.dowliqgaanrl. corn

Micah K Nilsson ¡unilËoÕü@t{o\vlÌnga¿iüu,so:n, r$rçrf,illiâ$s@.dowlingaarqn.com,
rsand i d nef¿).clowl i n saaro r ; Go u't

Michael Anthony Terhorst michael@becsonlglhorst.com, Jeff@beesonterirorst.conr,
rnari safr}.beeson terhorst.c om

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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 17 of 65




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         Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 18 of 65



Jo Ann A. Alaniz

From:                          caed-cmecf-helpdesk@caed.uscourts.gov
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¡o:                            Cou rtMail@caed.uscourts,dcn
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                                               U.S. District Court

                                Eastern District of California - Live System

Notice of Electronic Filing

The following transaction was entered on 8/1712017 at 8:45 AM PDT and filed on 8116/2017
Case     Name:       (PC) Mitchell v. DaViga, et al,
CaseNumber: 1:13:qv-013,24ÐAD:EPG.
Filer:
Document Number: 155(l{o document attached)

Docket Text:
MINUTES {Text Only) for proceedings before District Judge Dale A. Drozd: JURY TRIAL (Day
2) held on 8/16/2017. Court reed prel¡minary instructions. Opening statements made. Plaintiff
Corey Mitchell sworn and testified. Defendant Gabrielle Chavez sworn and test¡tied. Exhibits
rece¡ved into evidence. Contâct with Defendant Chavez was reported by three jurors and
addressed by the couÉ. Plaintiff proffered what Dr. .Alexander M. Kushnier will testify to;
defense argued; court will conduct an in camera review of all menta¡ health records from
CDCR obtained by plaintiffs counsel and then issue ruling; plaintiffs counselwill email
records to the court as soon as possible; plaintiff made secondary request for court to allow
Dr. Kushnier to testify by phone or video. Court will look into whether or not the door has
been opened as to plaintiffs criminal history and to what extent. Jurors were admonished,
excused for the even¡ng, and ordered to return at 8:30am tomorrow morning. Court and
counsel discussed remaining witnesses and logistics. Jury Trial (Day 3) CONTINUED to
il1712}17, at 8:30 AM in Courtroom 5 (DAD) before District Judge Dale A. Drozd. Plaintiff Corey
Mitchell present with Counsel M¡cah Nilsson an Justin Thomas. Defendants Chavez and
Sheldon present with Counsel Edgar Nield and Michael Terhorst. Court ReporterlCD Number:
Karen Hooven. {Gaumnitz, R}


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        Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 19 of 65



Daniel O. Jamison diannissnftùdowlinegar.onicom. hwaltontãdowlilrqaamnipqJn

Edgar R. Nield e$ipld ,ul$jþ.y.,f,.a$T,s;

GabrielleDesantis-Nield              eÊkJdf@nfd$ffi*C$,@
Justin L, Thomas l.lhuwiaçôAçl¡ii¡tgfsro¡.eOnt¡r çIr-c.l{nlÊt{Ctrl':tiqgEri .o-n¡¿prn




Michael Anthony Terhorst
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Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 20 of 65




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           Case 1:13-cv-01324-DAD-EPG Document 194-5 Filed 01/09/18 Page 21 of 65



Jo Ann A. Alaniz

From:                           caed-cmecf-helpdesk@caed.usco u rts. gov
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To:                             Cou rtMa il@caed.uscourts.dcn
Subject:                        Activity in Case 1:13-cv-0L324-DAD-EPG (PC) Mitchell v. DaViga, et al. Jury Trial - Held'


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                                                U.S. District Court

                                 Eastern District of California - Live System

Notice of Electronic Filing

The following transactionwas entered on8/1712017 at3:73 PM PDT and filed on8ll7l20l7
Case     Name:      (PC) Mitchelt v, DaViga, et al.
CaseNumber: 1:13-cv-01324-DAD-EPG
Filer:
Document Number: 156(No document attached)

Docket Text:
MINUTES (Text Only) for proceedings before District Judge Dale A. Drozd: JURY TRIAL (Day
3) held on 8117t2017. Plaintiff witnesses Lt. Richard Speidell, Bonnie DaVeiga, and Defendant
Timothy Owen Sheldon Jr. were sworn and testified. Defendant Chavez recalled and testified.
Plaintiffs counset advised court they will not be calling Dr. Kushnier as a witness. Plaintiff
RESTS. Outside of the presence of the jury, oral Rule 50 motions argued and DENIED as to
both defendants. Plaintiff's oral Rule 15(b) mot¡on to amend complaint to add negligence claim
argued and DENIED. Ëxhibits rece¡ved into evidence. Defendants REST. Plaintiff RESTS.
Jurors were admonished, excused for the evening, and ordered to return at 9:00am tomorrow
morning. Jury instruct¡on and verd¡ct form conference held off the record. Jury Trial (Day a)
CONTINUED to 811812A17, at 8:30 AM in Courtroom 5 (DAD) before District Judge Dale A.
Drozd. Plaintiff Gorey Mitchell present with Counsel Micah Nilsson an Justin Thomas.
Defendants Chavez and Sheldon present with Counsel Edgar Nield and Michael Terhorst,
Court RepoÉer/CD Number: Karen Hooven. (Gaumnitz, R)


1:13-cv-O1324-DAD-EPG Notice has been electronically mailed to:

Daniel O. Jamison cljaniisonû)tlorylingatu'on.qrnl, irwallorr(jlcþwlíltg¿uron,col:t


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EdgarR.Nield                                                              @
Gàbrielle DeSantis-Nield lgniei¿,. rrieridl,*rw.$0.ïîi;   qg,,o,                    .




Justin L. Thomas jrhpmqiil@dölyJiugesrcîr.cQm; shol$n@do$lihg{¡êtön,$o-tn




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Jo Ann A. Alaniz

From:                          caed_cmecf_helpdesk@ caed.uscourts.gov
Sent:                          Monday, August 2'J.,201-7 1:23 PM
lo:                            Cou rtMa il @ caed.u scou rts,dcn
Subject:                       Activity in Case 1:13-cv-01324-DAD-EPG (PC) Mitchell v. DaViga, et al. Jury Trial - Held,


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this e'mail because the mail box is unattended.
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                                                U.S. District Court

                                Eastern District of California - Live System

Notice of Electronic Filing

The following transaction was entered on8/21/2017 at1,:22 PM PDT and filed on8/1812017
Case     Name:       (PC) Mitchell v. DaViga, et al.
CaseNumber: l:1,3:çy.913?a-DAD-EFG
Filer:
Document Number: 158(No document attached)

Docket Text:
MINUTES (Text Only) for proceedings before District Judge Dale A. Drozd: JURY TRIAL (Day
4) held on 8/1 AzAfl. Court and counsel held jury instruction end verd¡ct form conference.
Defense mot¡on to re-open GRANTED; defense objection to the admission of exhibit 110
argued; court SUSTAINED objection and ORDERED exhibit 110 stricken from previous
admission into evidence. Defendants REST. Plaintiff RESTS. Closing arguments were mede.
Court instructed the jury as to the law appl¡ceble to this case. Courtroom Deputy swore Gourt
Security Officer to take charge of jury. Jury began deliberating at 3:10 pm. Courtwas adv¡sed
jury reached unanimous verdict at 4:20pm (Note From Jury marked as Court Exhibit 1).
Gourtroom Deputy published verdict. Jury poled as to their true and correct verdict.
Courtroom Deputy ordered to record spec¡al verdict. Jurors admonished, excused for the
evening, and ordered to return to start the second phase of trial at 1:00pm on Wednesday,
 8t23t2017. Jury Trial (Punitive Damages Phase) {Day 5} CONTINUED to 812312017, at'l:00 PM in
Courtroom 5 (DAD) before District Judge Dale A. Drozd. Plaintiff Corey Mitchell present with
Counsel Micah Nilsson an Justin Thomas. Defendants Chavez and Sheldon present with
Counsel Edgar Nield and Michael Terhorst. Court ReporterlCD Number: Karen Hooven.
(Gaumnitz, R)


l:13-cv-01324-DAD-EPG Notice has been electronically mailed to:
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Daniel o. Jamison :djaprison@dsrdíR,ggaron¡com¡ liwaltonl/@dowllngflgr.ertcom

Edgar R. Nield  Ë.¡il,çid@Jrfsid'lewo-p.s¡¡                     ,


Gabrielle Ðesantis.Nield gpí,e.td ,nlei¡üa*;¡oo,r+.                       ¡




Justin L. Thomas ithiLmaç@dþW.li¡lgfls{or!,pp¡ï,t rihp¡m@dowtinsqai'on;pp{a

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Michael Anthony Terhorst #içfip,çt@Þ€qeôr$e¡þotftpqrÏl..
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        For lnvoice Date: 1/9i2018
                                                                                                      Bill_HoÌd_WU/D-WIO-
                      Page #: 1                                                                      Apply Retainer Trusl
                                                                                                     Show to
   OO9S99 OOOO12 DAI PRO BONO MATTERS                                                                Close Matter-AddAttached-
                               DAI Pro Bono Matters
                               ATTN:
                                                                                                                   -REDO-
                                                                                                    Retainer Balance:             $511.85
                Matler Name: Corey Mitchell 'r. Chavez. Sheldon (prisoner civil rights)

                            Nilsson
         Responsible: Micah K,                                                                      Fees from -    through:           - 1/9/2018
                             Jamison
          Originaling: DanielO.                                                          Olher Accounting from -   through:           '1lS/2Û18
     Fee.Anangement:   Hourly                                                                               TYPe of Law: 115
   fulatter Opeled on; 1t612t17                                                             Quoted Price: $0.00
        l.nvrice Style; 03 - Date, lD, Desc, Hours, Amt & Recap with Hours,                    F
                                                                                            Default Rate:S
                        lXllnclude   lnvoice in Hard Copy
         Billing Notes; this is a pro bono matter sent to us by USÐC ADR and Pro Bono Program Director Suiean Parki there will
                        be reimbursement of certain costs, etc. þut MKN/JLT will need to submil as per Generat Order 558 of
                        USDC, Eastern District. no bills should be senl to Mitchell or Mr' Park at USDC.
   Matter Description: (eighth amendment)
                                                                 Fees



12l21i2û16 MKN               Review case infarmation and representaiion in torey Mitchell v. Chavez                         0.4              $140.00
 223914                      and Sheldon, State of California Department of Corrections and                                 0.4 $350.00      $140.00
                             Rehabilitation aclion.

12t22t2016 MKN               Review documents related to Corey Mitchell v. Chavez and Sheldon, State                        0.ô               $210.00
 230030                      of California Department of Correctíons and Rehabilitation.                                    0.6 $350.00       $210.00

12129120'16 MKN                                                                                                             0.4               $14Û,0û
  2301 73                                                                                                                   0.4   $350.00 $i¿0,t0
                                          non-disqualitying confl ict

 1ßt2A17 DOJ                 Exchange correspondence with federal court pro bono administrator and                          0.5               $190.0Û
  225672                     with Mr. Nilsson and Mr. Thomas concerning representalion of and                               0-5   $380.00 $190.00
                             meeting with Mr. Mitchell; review Court's order appointinç Dowling Aaron
                             as counsel for plaintiff.

 1t3t2017 MKN                Review order appointing counsel, and defendants' filing declining to                           0.3               $105.00
  230286                     proceed before magistrate judge.                                                               0.3 $350.00       $105.0CI

 1t3t2017 JLT                Review case history.                                                                           0.6               $135.00
 lroaao                                                                                                                     0.ô $225.00       $ 135.00


 1!4t2A17 DOJ                Revìew pleadings to prepare for conference call with Mr. Nilsson and Mr                        0.7               $266.00
  2259Ð4                     Thomas to discuss case slrategy lor Corey Ì'¡litchell.                                         0.7 $380,00       $266.00

 il4Ì2j17 MKN                                                                                                                                   $70.00

                             m
                             Case analysis reqar¿in                                                                         0.2
  23031 0                                                                                                                   0.2 $350,Û0         $70.00

 1t4t2j17 JLT                Reviev¿ case history-                                                                          3,9               $877.50
  22SS96                                                                                                                    3.9 $225.00       $877.50

 115t2017 DOJ                Prepare for and strategy leleconference with Mr. Nilsson and f'¡1t. Thomas                     t.Õ               $684.00
  226232                     regarding Corey Mitchell's section 1983 case.                                                  1,8   $380.00 $684.00
 1t5t2}17 MKN                Telephone strategy conference call regardÌng background facts, and                             1.2               $420.00
  IJUJSU                     litigatíon and kial strategY-                                                                  1.2 $350.00       $420.00

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                Matter Name: Corey Mitchellv. Chavez, Sheldon {prisoner civilrights)
                                                           Fees



1t5t2017 MKN                Revíew correspondence regarding movìng pre'trial statement deadline, and      0.2                  $70.00
 230352                     defendants'request to continue trial date.                                    a,2    $350.00       $70.00

115t2A17 MKN                Legal analysis regarding oausås of action, jury instructions, potential       0,6                $210.00
 230354                     pre-trial motions, and expert discovery issues.                               0.6 $350.00        $210.00

il'nafi JLI                 Review pleadings regarding molion for summary judgment; telephone.call        2.5                $562.50
 230A47                     and emâil to Defendãnts çounselregarding stipulation to continue trlal.       2.5.   $225.00     $562.50

 1¡8t2017 DOJ               Review order from Court denying emergency iniunction to Corey Mitahell        0.2                  $7S^'9.0.

 226469                     and exchange internal e-maitregarding same and status (NO CHARGE).            0,2      $û.00         '$000Ð


 1t8t2017 MKN               Review Magistrate's recommendation and order adopting findings and            4.2                  $7t 00
 230442                     recommendations regarding motion for an emergency restraining order           0.2 $350,00          Sf,0.0n:
                            preventing transfer to Kern Valley State Prison.

 1t6t2017 MKN                                                                                             0.6                $.å10,ûå.
                                                                                                          0.6 $350.00        ',$giaoc,
 230444



 u5nafl MKN                                                                                               0.3                 $105.00
 230408

 +t8t2g1ï           MKN
                        T   Õäse ana{vsis


                            Review correspondence regarding plaintiffs motion to prevent transfer back
                                                                                                          0.3 $350.00 $1Û5.00
                                                                                                          0.1                  $35.û0.
 2,30409'                   to Kern ValleY State Prison.                                                  0.1 $350.00          $3&;00
                                                                                                          a1                  $720.00
 1!6t2017 JLT               Review conespondence from defense counsel regarding status of case;
  230016                    research jury instrucfions; review prelrial statement and witness motions     3"2 $225.00         $720,00
                            filed by client.

 il7t2}17 JLT               Continue to review case history.                                              2.1                 $472.50
  230424                                                                                                  2.1 $225.00         $472.50

 1t9t2A17 DOJ                                                         counsel and assisl wilh             0.4                 $15?;00
  226891                                                                                                  4.4      $0.00          $0.CI0



 1t9t2017           MKN Reviewsubstitulion                     for defendants, and case analYsis          0.8                 $280,00
 230508                     regarding                                       regarding telephonìc          0.8 $3s0.00         92å0.00
                                                                            complete forms for attorneY
                            client

 11912017 MKN Review litigation docket and files,                                                         0.4                 $14û,oCI
  23û628                                                                                                  0.4 $350.00         $140.0CI

                                                                                                          4E
 1ßtz}fl JLT Prepare stipulatîon to continue trial; prepare prison attorney questionnaire.                4ç.
                                                                                                                         $337.50
  230028                                                                                                         $225.00 $337.50
11102017 MKN Coordinate site visit for client intervìew'                                                  0.3                 s10s;ûû
  230546                                                                                                  0.3 $350.00         s195.0û

!ß12t17 tulKN
  230559
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                            Case analysis regartling

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                                                                                                          û.4
                                                                                                          0.4 $35û.00
                                                                                                                              $140^00
                                                                                                                              $140.00
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   009999 OOOO12 DAI PRO BONÛ MATTERS
                  Matter Name: Corey Mitchell v. Chavez, Sheldon (prisoner civil rights)
                                                              Fces



1t10t2017 MKN                 Review correspondence regarding substitution of attorneys and defendants'         0.3               $105.00
 230562                       request for continuanee.                                                          0.3 $350.00       $105.00

1t1At2017 JLT                 Offìce conference regarding status of case: prepare litigation strategy.          1.7               $382.50
 23CI098                                                                                                        1.7   $225.00 $382.50
1t11t2017 DOJ                 Review e-mail lrom federal court and client's filed pleadings; interoffice        0.4               $152.00
 227649                       e-mail regarding strategy (NO CHARGE),                                            t,4     $o,oo       $o.oo

1t11t201T MKN                 Review plaintiffs pre-trial statement and molions for attendance of               0.6                $210.00
 230630                       non-willing incarcerated wilnesses; legal analysis regarding same.                0.6 $350.00        $210.00

1ffina17 JLT                  Email court tegafding vacaling triâl.schedule;,telephone call with coutt-         2.0                $450.00
 2301 3S                      clerk regarding sanå; offica conferÊncè regarding same: review client filed       2.0 $225.00        $450.00
                              pre{rial statement and wilness motions.

1t13t2017 MKN                 Review and revise pre-lrial filings.                                              0.5                $17s.00
 228686                                                                                                         0.5 $350.00        $175.00

111312017 MKN Legal analysis regarding                                                                          0.3                $105.00
  228688                                                                                                        0.3 $350.00        $105.00

1113t2017 MKN Case analysis regarding re-opening discovery for timited purposes.                                0.4                $140.00
  22S689                                                                                                        0.4 $350.00        $140.00

1nu2a17 IVIKN                 Correspondence with defense counsel regarding pre-trial deadlines         and     0.1                  $35'00
  228690                      trial   date.                                                                     0.1   $350.00 $35.00
1t13t2017 MKN                                                                                                   û-5                $17s.00
  228651                                                                                                        0.5 $350.00        $175.00


1tßt2417 JLT                  Review email froni defense counsel regarding stipulation and prepare a            0.7                $157.50
  2301 85                     respÕnse.                                                                         0.7 $225-00        $1s7.50

1t14t2t17 MKN                  Review various pre-trial motions and trial brief.                                0.8                $280.00
  228699                                                                                                        0.5 $350.00        $175.00

1n6i2117 MKN Legal review of                                                                                    1.2                $420.00
 2287t2                                                                                                         1.2 $350.00        $420.00

1t16t2A17 MKN                  Case analysis regardins                                                          0.4                5140.00
  2287t3
                                                         f                                                      0.4 $350.00        $140.0ü

1n712A17 JLT                   Reyierv witness motions {NO CHARGE)                                              0.4                  $90.00
  23Ð2A7                                                                                                        0.4     $0.00         $0.00

1t19¡2017 DOJ                  Revie'.,v stìpulaiion vacating trial date ¡nd sche¡Jule and *xchange internal                          $76.00
  225319                       e-mail u'ith Mr. Tltonlas and li.4r. Nilssen regarding meeling lvith client in   0   2 s3Bt.00         $76.00
                               priscn.

 1t19!2017 MKN                 Prepare waiver of potenlial conflict and consent for release of medical          0.3                 $105.OCI

  230534                       records.                                                                         0.3 $350.00         $r05.00


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  OO99S9 OOOO12 DAI PRO BONO MATTÉRS
     Matter Name: Corey Mitchell v. Chavez, Sheldon (prisoner civíl righls)
                                                          Fees



1t15t2017 MKN         Prepare for and atlend client meeting; lravel to California Correctional    5.4              $1,890.00
 230536               lnstitution, 100 míles.                                                     5.4    $350.00 $1,890,00

1t19t2017 MKN         Review conespondence regardìng stipulation to extend defendanfs             0.?                 $70.00
 230537               deadline to file pre-trial statements.                                      0,2 $350.00         $70^00

1t1s12017 JLT         Attend clieni meeting; prepare for client meeting; prËpa¡e stipulation to   8.4              $1,890.00
 230223               vacale dåtesi telephône call wilh defense counsel regarding same.           8.4    $225.00 $l,8g0.oo

il21t2l17 DOJ         RevÌew case dockel and analzYe                              (NO CHARGE).    Ð"2                 $76.0CI
 229669                                                                                           0.2      $0.00 $0.0û
uåaâQfi' ÐOJ Revlew and analyze order from Court setting Fehruary 6 stalus conference             t.2                 $7S.00
 231070               (NO CHARGE).                                                                a.2      $0.00        $0.00

i t23l2UI7 fUK¡l Review notice of appearance fited by Defendant Chavez.                           0.1
                                                                                                  0.1    $350.00
                                                                                                                      $35"nû,
                                                                                                                      $36,0t
 2333t3.
!23n?fi MKN Case analYsis regardi                                                                 0.3               $105.00
 233304                                                                                           CI,3 $350.00      $105.00

1t23t2017 MKN         ,Review order vacating trial schedule and setting status conference.        0.2                 $70.00
 233305                                                                                           0.2 $350.00         $70.00

1t23t2017 MKN         Review correspondence from attcrney Gabrielle Nield regarding notice of     0.1                 $35.00
 233306               unavailability.                                                             0.1 $350.00         $35.00

1t23t2017 JLT         Review order from court regarding trial schedule; ernail from counsel       0.6                $135.0û
 234477               regarding same; office conference regarding same-                           0.6 $22s.00        $13s.00

1t3u2017 MKN          Case analysìs regardin                                                      0.2                 $70,0t,
 233423                                                                                           a.2 $350.00          $?0.0.

1t3tpa17 MKN                 and                                                                  4.4                $140.00
  233424                                                                                          a.4 $350.00        $140.10

1t3U2017 JLT          Prepare status report.                                                       t.J               s292,50
  234532                                                                                          1.3 $225.00        sze2.50

1t31t2017 DOJ         Assist with preparation for February 6 status conference (NO CHARGE)        0,2                  s76.00
  232888                                                                                          0.2      $0.00        $0.00

1t31t2t17 JLT         Prepare outline for status conference                                       1.2                $270.00
  234540                                                                                          1.2 $225.00        $27û.00

 21112017 MKN Legal analysis regarding                                                            u.o                $210.00
  233444                                                                                          0"6 $350.00        $210^00

 z1t2a17 þlKN         Office conference with Mr. Thomas regarding updale on completion of         0.4                $140,00
  233445              outstanding tasks.                                                          0.4    $350.00     $140.00

 2t1t2017      MKN Lega{ research regarding                                                       U.J                $105.00
 233446                                                                                           ^2     $350.00     $105.00


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      Matler Name: Corey Mitchellv. Chavez, Sheldon (prisoner civil rìghts)
                                                             Fees



2t1t2017 JLT              Review discovery deadlines and extensions; review file.                        )'t               $517.50
  238572                                                                                                 2.3    $22s.00    $517.50

2t2t2017 JLT              Prepare request for documents from corrections facility                        1.6               $360.00
                                                                                                         .1"6
  238582                                                                                                        $225.00    $360.00

2t3t2017 DOJ              Prepare for and strãtegy teleconference with Mr. Nilsson and Mr. Thomas        1.9               $722.00
  233774                  for February 6 schedulíng and status conferenco.                               1.9 $380.00       6722.A0

ä3ls0ir MKN Case analysis                                                                                4.4               $140"00
.337r67S                                                                                                 4.4    $350.00    $140.00

2ß12417            MKN Legalstrategy                                                                     0.5               $175.00
 237681                                                                                                  0.5    $350.00    $175.00

 2t3t2017 JLT             Prepare case oulline, prepare legal outline; prepare for telephone call with   6"0              $1,350.00
  238633                  court.                                                                         3.0    $225.00 $675.00
 2t6t2017          MKN Prepare for scheduling conference and ofäce conference with attorney              0,6               $210.00
  2377A5                  Thomas.                                                                        0.6    $350.00 $210.00
 2t6¡2017          MKN Telephone conference with MichaelTerhorst regarding case, discovery and           0.5               $175.00
  237747                  scheduling.                                                                    0.5 $350.00       $175.00

ø.ôl?g1r           MKN Appear telephonically for scheduling conference.                                  0,7'              $245.00
  ¿37ïtS                                                                                                 a.7 $350.00       $245.00

 2t6t2Ù17 JLT             Review discovery conducted; prepare dÍscovery plan; prepate lor slatus         3.5               $787.50
  238645                  conference wilh court; telephone conference with court"                        3.5 $225.00       $787.5û

2t7t2l17 MKN                                                                                             0.7                $245.00
  237785                  ry:regardÍngexpertsandevidenceneededtoRrovf                                    0.7 $3s0.00        $245.00

 2t7t?a17 MKN             Case                                                                           0.6                $210.00
  237786                                                                                                 0.6 $s50.00        $210.00

 2t7t2017 MKN                                                                                            û.4                $140.00
  237787                                                                                                 û.4 $350.00        $140.00

 217t2017 MKN lnvestigale location and contact information forrvitness McCloud.                          0.1                 $3ã.00
  237789                                                                                                 0.1 $350.00         s35.0û

 a7l2a17 JLï               Prepare motion to re-open discovery.                                          ¿.¿                $495.00
  238648                                                                                                 2.2 $225.00        $49s.CIo

 UBI2A17 JLT               Continue to prepare motion lo re*open cäse.                                   4.8              91,080.00
  238657                                                                                                 4.8 $225.00 $1,080.00
 2tgt2717 MKN Prepare questionnaire for prisoner visit.                                                  a.2                  $70.00
  23S1 50                                                                                                0.2 $350.00 $70.00
 u9l2a17 JLT               Prepare evldence outline; prepare molion io reopen case                       5.9              $1,327.50
  238664                                                                                                 5.S $225.00 $1,327.50

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                  Matter Name: Corey Mitchell v. Chavaz, Sheldon (prisoner civil rights)
                                                              Fees



u1at2017 MKN                                                                                               0.6                      $210.00
  239187                                                                                                   0.ô $350.00              $210,00

a1at2017 MKN                                                                 and case analysis regarding   0.3                      $105.00
  2391 88                                                                                                  0.3 $350.00              $105.00

210t2t17 JLT                  Continue to prepare motion 10 r€open discovery; research potential           5.1                   $1,147.50
  238669                      experts,                                                                     3.1 $225.00            $697.50

2tß12a17 MKN                                                                                               0.5                      $175.00
  237852                                                                                                   0.5     $350.00 $175.00

211412t17 MKN Further case analysis regarding evidence related to                                          0,4                      $140.00
  237853                                                                                                   4.4     $350.r0 $140.00
A14EA17 JLT                   Research Rotential                                                           0.3                        s67.50
  238687
                                                   lexperts.                                               0.3 $225.00                $67.50

2t15t2017 JLT                 Review opposition to mot¡on to re-open discovery; review declaration of      0,7                      $157.50,
  238627                      counsel in support of opposition.                                            t.7 $225.00              $157.s0

216/2017 MKN                  Review and analysis of defendents' opposition lo motion to reopen            0.5                      $175.00
  238141                      discovery.                                                                   0.5 $350.t0              $175.00

2t16t2017 MKN                                       with attomey Thomas      tusutdins.il                  U.J                      $105.00
  238142                                                                                                   0.3 $350.00              $105.00

2nöt2a17 JLT                  Prepare arguments against opposilion to motion to re-open discovery.         1.2                      $270.00
  23861 1                                                                                                  1.2 $225.00              $270.00

AfinAfi MKN Prepare for and atlend schedulittg conference.                                                 0.ô                      $210.00
  238250                                                                                                   0.6 $350.00              $210.00

A17nlfi MKN Case analysis regarding                                                                        0.5                      $175.00
  238251                                                                                                   0.5 $350.CIO             $175.00

2i1VnA17 MKN                  F                                                                            0,4                      $140.tü
  238252                                                                                                   0.4 $350.00               $140.00

u17t2017 JLT                  Prepare for hearing 1o re-open discovery.                                    z. I                      $472.50
  236900                                                                                                   2.1      $225.00          $472.50
                                                                                                                  FtlitÈ¡l


2t21t2017             DOJ     Review courts order on ihe motion to re-open discovery                       0.2                         $7t"üû
   237940                                                                                                  a.2 $380.00                 $76,t0

a21/2417              MKN     Case analysis and correspondence regarding percipient witness McCloud,       U.J                       $105.00
  239076                      located in California Medical Facility in Vacaville.                         0.3 $350.00               $105.00

2t2112A17             MKN     Case                                                                         0.3                       s105.00
  239079                                                                                                   0.3 $350.00               $'tö5.00

a21t2417              MKN     Case analysis regarding                                                      0.2                         $70,00

                                                                    I)oxib¿,r¿lc:¡ i¡c                                       Ðl úq :ri13 i}.19!d
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                                                                    Fees




2t21t2017 JLT            Prepare request for costs.                                                                      1.0                         ,$2?5.üû
  238595                                                                                                                 1.0 $225.00                  $225.00

a22t2417 DOJ             Review case status and strategy (NO CHÀRGE)                                                     4.2                                $76.00
  238938                                                                                                                 4.2          $0.00                  $0.00

a22t2017 JLT             Office conference regardinç status of case; review letter from client.                          1.2                          $270.0CI
  238591                                                                                                                 1.2 $225.00                  $270.00

2t23t2017 JLT            Þie. oeposilion schedule: prepare letter îo client regardinsf                                   0.4                                $90.00
  239466                 I                                                                                               a.4 $225.00
                                                                                                                                 EcItêd
                                                                                                                                                            $s0.00


2t24nj17 MKN                                 .and teleplrone                                            family;          0.4                          $1a0,Û0,
  24ü41                                                                                                                  0.4 $3s0.0r $140.00
                                                              of

2J2Ai2017 MKN             Case                                                                        letter to client   0.6                          $21ü.0û,
  246112                                                                                            further contact      0.6 $350.00                 .$2'rt.0CI,


2t28t2ù17 JLï             Prepare subpoena to Mule Creek Prison regardÍng prison records.                                1.1                           $247.5t
  240421                                                                                                                 'r.1 $225.t0                  9247.5A
                                                                                                                                 Edtte(J


 3t1t2t17 MKN             Ëinalize letter to client asking   forf                              .                         0.3                           $105.00
  247037                                                                                                                 0.3 $350.oCI                  $105.00

 a1t2a17 MKN              Telephonic conrmunication with Mr. Mitchell's family members regarding                         0.4                           $140.00
  247044                  potenlial percipient witnesses for lrial.                                                      0.4 $350.00                   $140.00

 3t1t2017         MKN Review client documents including incident reports                                                 0.3                           $105.Ð0
  247t42                                                                                                                 n?        $350.00             $ 105.00
                                                                                                                                 ErJtleü


 31112017 MKN Review and revise deposition questions.                                                                    n1                            $105.00
  247443                                                                                                                 0.3 $350.00                   $105.00

 31112Õ17 MKN Review deposition transcripl of Mr. Mitchell,                                                              0.3                           $105.00
 247û45                                                                                                                  0.3 $350.oCI                  $ 105.00


 31112t17 JLT            Telephone call v¡ith Defendant's counsel; prêpare cieposltion outline;                          t.J                           $337.50
  240821          prepare letler to client.                                                                              1,s $225.00                   $337 50

 3;t2i2t)17 Ír¡KN Review colrespondence from C                       LaRochelle                    emolional             na                            $105.00
   24€r177                damages; case analysis regarding                                                               0.3 $350.00                   $105.00

 3ßt2A17 MKN              Multiple lelephonic conrmunications with plaintiffs sibling, Cindy                             0.4                           $ 140.00

   246191                 LaRocheile, regarding Cocumentary evidence of emotional disìress                               4.4       $35C.00 $140.00
                          resulting from stabbìng incident.

 3t3t2A17         MKN Cocrdinate obtaininq additional jnlormation frorn family members.                                  n?                                 $70.oCI
                                                                                                                         rì -)     $350.00                  $70,0û
   246192
                                                                                                                                           't,::)   \a:ta    t:.   ,,,.
i't1r ) c'f tit                                                       i.!,'lvþjI .Lrt:l i:i,
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 3í3t2Q17 JLT             Review client fite provided by California Corrections lnstitule.            0.4                                $90.0û
  241831                                                                                              0.4 $225.00                        $90.00

 3t6t2017 MKN             Telephone conference wÍth Ms. LaRochelle regardíng correspondence                                         $385.00
  247451                  evidencing emolional distress resultíng frcm the attack"                              $350^00             $38s.00

,31612917         MKN Further correspondence with Ms. LaRochelle regarding addítional requests        0.4                           $140.00
  24Vtgï                  for information.                                                            0.4 $350.00                   $14û.00

 3t6t7Û17 JLT             Prepare email lo deiendants regarding deposition dates                      0.2                                $45.00
  241827                                                                                              0.2 $225.00                        $45.00

 3ßt2417 JLT              Telephone call with defendanl's counsel regarding depositions.              0.7                           $'157.50
                                                                                                      Q.7       $225.00             $ 157.50
  "42056                                                                                                      Ê.d¡¡ed


 31712017 MKN Prepare outline of infornration to obtain through depositions of defendants.            0.4                           $140.00
  246218                                                                                              0.4 $350.00                   $140.00

 3fti2017 JLT             Prepare ernail to opposing eounsel regarding deposition dates; telephone    1.7                           $382.50
  242459                  callwith counsel regardrng deposition; prepare depositÎon nolice.           4.7       $225.00             $157.50
                                                                                                              l:d¡tetl

 3ß12A17 MKN Case analysis regarding                                                                  0.ô                           $210.00
  24ô2S3                                                                                              0.3 $350.00                   $105.00

 3t9t2}17 JLT             Review loeations lor defendants' depositions.                               0.5                           $112.50
  246734                                                                                              0.5 $225.00                   s112.50

3t1012017 DoJ             Review, analyze and calendar scheduling order dates.                        4.2                                $76.00
                                                                                                      a.2 $380,CIO

                          ry:
  243448                                                                                                                                 $76.00

3t13t2t17 MKN                                and ease analysis regarding                              1.3                           $455.00
  246333                                                                                              '1.3 $350^00                  $455.00

vßt2417 JLT               Prepare deposition notices; prepare deposition outlines; prepär€ email to   t.Ð                           $337.50
  243ô31                  defendants rega rding depositions.                                          1.5 $225.00                   $337.50
                                                                                                              ¡'drlt^)ù,


u14t2j17 MKN              Review deposition transcript of lvlr. lvlitche{|, and prepare outline oT    0   I                         $280.00
  24637A                  evidenee applicable to cause of action elenrenls^                           0.8 $35CI.00 $280.00
3t14t2017 MKN             Case and legal analysis regardin                                            0.5                           $175.00
   24637 1                                                                                            0.5 $350^00                   $17s.0û

3!14t2017 JLT             Prepare depositîon notices to deiendants (NO CHARGE).                       nt                                 $45.00
  243912
                                                                                                      n1              $0.00               $0.00

3t1512017 ÐOJ             Analyze e-maii fronl Mr. Nilsson and Mr. Thomas teqardirrq issues and       n1                            $114.00
   244362                 slatús: intern a I e-rnail to ifr"tn reóar¿¡r;g ffi                         0.3             $0.00           $0.00
                                                                         [r';-{¡ \/ ñ¡.lTI.¡ Ë.i'

3!18t2017 MKN              Revieiv subpoena to lvlule Creek State Prison regarding records and        4.7                            $245.00
  246400                   ¡:hotographs of inmate Baytor: fuÉher review correspondence lrom Mr        a.7 $350.00                    $245.0û
                                                                                                                           tl {rti)ti!    r0 ìt¡c
l¡!.    ? ôf li                                                   i¡;i:ä3 -1':;,.'r l;.r
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                lvlatter Name: Corey Mitchell v. Chavez, Sheldon iprisoner civil rights)
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3t16nA17 MKN                 Conference with opposing counsel regarding scope of subpoena and                  u.o                             $210.90
 246402                      location for depositions of defendants.                                           0.6 $350.00                     921t.0Ð

u16t2417 JLT                 Review letter lrom clienti rneet and confer wilh Defendant's counsel                                              $247,50
 244588                      regarding subpoena.                                                                           $225.0û             $24?.5û
                                                                                                                       Ediled

3t17t2017 JLT                Prepare email to defendants regarding subpoenas to Mule Creek Prison.             4.2                                $4s.0û
 244873                                                                                                        0.2 $:25,00                        $45.OCI

3119¡2t17 JLT Prepare email 1o defendants regarding subpoena for prison records.                               û.5                             $'112.s0
 245162                                                                                                        o.s $225.00                     $112.50

3t2012017 MKN Conespondence with opposing counsel regarding upcoming depositions.                              t.2                                $70.00
 247284                                                                                                        4.2         $350.00                $70.00

312U2017 JLT                 Prepare email to counsel lor defendants regarding subpoena for prison             0,6                              $13530
  246777                     records; prepare deposition outlines.                                             0,6 $225.00                      $135.00

3t21t?s17' JLf               Prepare email to defendants regarding subpoenas.                                  0.1                                $22.50
 2457 7                                                                                                        t.1 $225.00                        $22.50

312212017 MKN Case analysis regarding                                                                          0.5                              $175.00
 247319                                                                                                        0.5 $350.00                      $175.00

3t27t2017 JLT                Telephone cafl rvith Attorney Terhorst regarding subpoena for Mr. Baylor's        0.4                                $e0.00
  248154                     records; prepare email regarding same.                                            0.4         $225.00                s90.00
                                                                                                                       Ed¡lod


3t28t2Ð17 JLT                Telephone call with Attôrney Terhorst; review subpoena for prison records;        û,ô                              $135;0û
  248ô25                     prepare email regarding subpoena.                                                 0.s $225.00                      3135,00
                                                                                                                       Edited


3t29t2t17 JLT                Review subpoena for fu1r^ Baylor's records; review pre-lrial order; prepare for   2.5                              $s62.50
  250924                     depositions.                                                                      2.5 $225.00                      $562.50

3t30t2017 DOJ                Assist wilh analysis oi                                                           0.5                              $190.00
  249384                                                                                                       0.s $380.00                      $ 1Sû.00

                                                                                                               ,l .)
3t3At2017 JLï                Telephone call with Aiiorney Terhorst regarding subpoena; prepare email                                            $720^00
                             regarding pre-trial stalement.                                                    a,)                              $720.00
  24Sl 81                                                                                                                  $225,00
                                                                                                                       F-tJiterl


3t31t2t',17 JLT              Prepare motion for incarcerated wilnesses: prepare for deposition of              3.3                              $742.s0
  249427                     defendants; re'¡iew fìle provided by California Correctlonal lnslitute.           3^3 $225 çt                      s742.50
                                                                                                                       Ë   tliit.i

 4i2t2}17 JLT                Prepare for deposition of defendant Shepparcl.                                    4.5                          $1,012.s0
  249789                                                                                                       4.5 $225.00 $1,012.s0
                                                                                                                       EtliierJ

                                                                                                               Ão
 4ß12A17 JLT                 Prepare for deposìtion ol Mr. Chavez; prepare lor deposition of Mr                                             $1,',iCIs.û0

                                                                    i\:.tts? A-tt¡t;'¡.':                                            |i\ 1tia>.Ii:t',tJ )., r xt
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                       Shelclon; review                      client               reco
 24S9S7                incident reports.                                                                5.8 $225.00 $1,305.00
                                                                                                               Edilerl


 4t4t2017 MKN          Prepare additional deposition guestions and conference with Attorney             1.2                      $420.00
 25't266               Thomes lo prepare for depositions.                                               1"2 $350.00              $420.00

 4t4t2017 MKN          Attend portions of depositions of defendants.                                    a.7                      $245'00
  751267                                                                                                Q.7 $350.00 $245.00
                                                                                                        0.4
                       I
 4t4t2917 MKN           Legal analysis regarding                                                                                     $140.00
 2512S8                                                                                                 a.4 $350.00 $140.00
4}N2A17 JLT            Prepare for depositions; attend deposition of Mr. Sheldon: prepare pre-trial     7.6                   $1,710.00
 250930                statement prepare for deposition of Mr. Chavee; attend deposition of Mr.         7.8 $225.00 $1,710.00
                        Chavez.

 4t5t2017 JLï          Review documents provided by CDCR for subpoena; prepare email to                 1.6                          $360.00
 250394                Attomey Terhorst regarding documents.                                            1.ô $225.00 $360.00
                                                                                                               Edited


 4t6t2017 JLï           Prepare pre-trial statement; review court docket; rev¡ew orders regarding       4.0                          $90û;00
 250934                 discovery.                                                                      4.0      $225.00             $90t 00
                                                                                                               Edtted


 u7pa17 DOJ             Review defendâr¡Ìs,proposed la¡gtt?gg lo¡ i9!et pre'lrial ålatsment and.        0.4                          $1s2.00
  251427                internal e-mailrr*i1l Mr.lhomas and Mr. Smith regarding,,slratsgy in light of   4.4          $0.00             $0.Û0
                        same (NO CHARGE).

 4t7t2t17 JLT           Prepare joint pre-trial statement.                                              z,q                          $s40.00
  255474                                                                                                2.4      $225.00 $540.00
4t8t2t11 JLï            Continue lo prepare pre-trial stalement.                                        1.7                          $382.50
  251400                                                                                                1.7 $225,00                  $382.50

 4t9t2Ð17 JLT           Prepare pre-trial statement (NO Cl"lARGË).                                                                   $s62.50
  251461
                                                                                                        ?<           $0.00             $0.00

4nat2a17 DOJ            Assist wíth preparation of lhe joint pre-trial statement.                                                    $494.00
  25'178ô                                                                                               1.3 $380.00                  $494.00

4t1Ði2t17 JLï           Prepare joint pre-triai stalement; continue to analyze clientfile provided by                                $s'17.s0
  251524                t Lt_                                                                           ¿.'J     $??5.üo             $517.50
                                                                                                               E{iite¿


u1a2a17 MKN             Case and legal analYsis regarding                                               0.4                          $140.00
  253310               il                                                                               0.4 $350.0û                  $'140 00

                                                                                                                                     $228.00
4tßt2a17 DOJ            Assist with analysis and stralegy in lìght of deposition testirnony of the      u.þ
  252856                ciefendants ancl items needing correcllon in the joint pre-trial slalement.     0.6 $380.00                  $228.t0

A!13t2A17 MKN           Reviev¿ correspondence                p ersonal records and consumer notice     u.3                          $175,00
                        for trial            further a                rding                             nÃ           $0.00             $0.00
  253342
                                                      {N

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411312017        JLT Conferencecall regardingpre-trialconfeÍence.                                          0.7             $157 50
 252753                                                                                                    a.7     $225.00 $157 50
4lMl2A17 MKN Case analysis ând strategy regarding evidence for lr¡al.                                      0.4                       $140.00
 2553S5                                                                                                    a.2 $350.00                $70.00

411712017 DOJ           Read and                                                                           0.6                       $228.00
 253474                 internal e-mail                                                                    0.6 $380.00               $228.00

417:,2A17 MKN           Prepare for and attend pre-tríal conference                                        1.4                       $490"00
 ?55474                                                                                                    1.4 $350.00               $490.00

4t17t2017 JLï           Review negligence cause of action; atìend trial conference                         2.7                       $607.50
 253088                                                                                                    2.7 $225.00               $007.50
                                                                                                                  Ed¡\ed


4t18t2017 JLï           Prepare email to Mr. Jamison regarding pre-trial conference; review                0.8                       $1r0.0û
 253537                 documents provided by CDCR; prepare exhibit list.                                  0.8 $225.00               $1âû;00
                                                                                                                  Etliled


4t19t2017 MKN           Review and revise exhibit list for lrial; further analysis regarding defendanl's   0.7                        $245.00
 255495                 designated wilnesses.                                                              0.7 $3s0.00                $24s.00

4t19t2t17 JLT           Prepare exhibit list.                                                              0.5                        $112.50
 25381 1                                                                                                   0.5 $225.00                $112.50

4t20t2017 MKN           Case analvsis and strategy regarding                                               0.ô                        $210.00
 255534                 I
                        Review documenls provided by defendants.
                                                                                                           CI.6 $350.00
                                                                                                           1.2
                                                                                                                                      $210.00

                                                                                                                                      $?70.00
4120t2017 JL'r
  254383                                                                                                   1.2 $225.00                $27û,rCI

4t21t2017 JLT           Telephone call with opposing counsel regarding exhibit list and CDCR                t.Õ                       $405.00
  254572                subpoena.                                                                           t.o     $22s.00           $405.00
                                                                                                                  f{l¡lêd

4t24t2017 DOJ            Revíew revised joint exhibit list and check on status of Court's pre-trial        0.1                           $38.00
  255806                order {NO CHARGF}.                                                                 0.1         $0.00              $0.00

4t2512Q17 JLT            Review documents provided by defendants"                                          û.5                        $112.50
 255527                                                                                                    0.5 $225.00                $ 1 12.50


4n6t2j17 MKN             Review                 trã      cãse an                                           0.4                        $140.00
  257444                                                                                                   0"3 $350.00                $ 105.00


4t271?017 DÖJ            Review correspondence fronr Mr. Thomas regarding Mr. Baylor photos (NO            0.1                           $38.00
  257004                 cHARGE).                                                                          n{           $0.00             $0.00

4i2712017 JLT            Office conference regarding status of caseì prepare email 1o opposing             u.þ                        $13s.0û
  256508                 counsel regarding photograPhs.                                                    0.6 $225.00                $135.00

4t2812t17 JLT            Prepare email lo Mr. Terhorsl regarding photos; confe¡ence regarding              08                         $180.00
 25669t                  pre-trial molions.                                                                0.8 $225.00                $18û.00

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 il1na17 DOJ                  Assist with an                                                                     0.3                       $:t 14,00

      257229                                                                                                     0.3 $380.00               $111'00

 il1na17 JLT                  Review document provided by GDCR regarding Mr. Mitchell.                           1.3                       $2S2.50
      257137                                                                                                     1.3     $225.00            $2e2.50
                                                                                                                        Ediled


      5t4t2017 MKN            Review correspondence regarding evidence and trial stipulations.                   0.2                          $70.00
      259964                                                                                                     0.2 $350.00                  $io.0ü

  5t4t2j17 JLT                Prepare email to opposing counsel regarcling evidence stipulation'                 1.2                        $270;00'
      2581 1 3                                                                                                   1.2 $225.00                $?70.00'
                                                                                                                        Ëdiletl

      5t8t2017 JLT            Request clienl file from CDCR.                                                     0.2                          $45.00
      258898                                                                                                     0.1      $225.00             $22.50
                                                                                                                        Êdiled


  st9t2017 JLT                Review pre-triål order; prepare email to Judge Drozd regarding discovery           1.0                        $225.0CI
      25928t                  motion.                                                                            û.8 $225.00                $180.00

                                                                                                                                            $140.00

                              I
                              Case analvsis and correspondence regarding
5t11t2017 MKN                                                                                                    0.4
      zÞ1 i JJ                                                                                                   0.4 $350.00                $140.00

5t11t2017 MKN                 Review oÍder terminaiing request for attendance; further analysis regarding.       0.2                          $70,00
      261734                  Irial preparations.                                                                0.2 $350.00                  $70.00

5t11t2t17 JLT                 Review and analyee                                      request documenls from     1,0                        $225.00
      259787                  CDCR regarding                                                                     1.0 $2s.00                 $225.0CI

5n2t2417 DOJ                  Review cou¡t order regarding bringing prisoner plaintiff to trial and internal     01                           $38.00
      260382                  e-mail regarding same.                                                             û.1 $380.0û                  $38.00

 5i12t2017 JLT                Review client's cenlral file produced by CDCR.                                     4.6                     $1,035.00
      260364                                                                                                     4"6      $225.00 $1,0s5.00

 5t15t2017 DOJ                Revieu ancl analyze pre-trial order; analysun           ofltHmH                    1.2                        $456.00
      264822                            internal memo to alsociate atltrneYl                                     1.2      $380.00 $456.00
                              Ë,
 5t15i2A17 MKN                Review correspoRdence regar<iing triat evidence reçarcling emotional               U   z         $245.00
      260861                  clamages; further ol:lairt order lor Mr. Mitchell lç'xear stre*t clothes cluring   0   7 9350.00 $?4s.0û
                              1r¡äl; coordinate correspondence with plaintifls familv members.

 5t15t2017 JLT                Review client's central file provided by CDCR.                                                                $337.50
                                                                                                                 .1 q
      260431                                                                                                              Þ¿JC.UU           }JJ /,JU
                                                                                                                        tdtied

 5i16t2017 JLT                Review documents providecl by CÜCR; prepare nlotions in limine                     )2                         $49s.00
       261191                                                                                                    22       $225.00           $495.00
                                                                                                                        Íttil?íJ

  517i2ú17 JLT Review applicable jury instructions; prepare motion in limines                                    16                         $360.00

                                                                      ãotii:¿.dricl   ir:t                                         íil .i:r'j(i:i !C.lt¡rr
'r'   tç¡ i|: tl 1!
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 261322                                                                                                             1.6
                                                                                                                          Edited


5118t?01T JLT              Follov¿ up on service of WRIT of Habeas Corpus Ad Testificandum,                         0_1                              $22.50
 261 59D                                                                                                            0.1 $225.00                      $22.50

5t21t2017 JLT              Review letters provided by family regardinE emotional darnage.                           2.0                         $450.00
  262445                                                                                                            2.O $225.00                 $450.oo

5t22t2017 JLT              Continue to review letters provided by client's family: Prepare fetter to                1.4                         $315.00
  262480                   clienl prepare email to opposing counsel regarding exhibits.                             1.4     $225.00             $315.00
                                                                                                                          Erliled


512312A17 MKN Case analysis and trial preparations.                                                                 0.3                         $1t5,00.
  265743                                                                                                            0.3 $350.0û                ,$105;00.

5t23t2017 JLT              Review exhibils for conference call with defendanis,                                     1"8                         $405.00
  263422                                                                                                            1.8 $225.00                 $40s.00
                                                                                                                          Etlited

5t25t2017 DOJ              Exchange correspond ence with Mr. Thomas             recaraintJ                  {t'to   0.1                              $38.00
  264416                   CHARGE).                                                                                 0.1        $0.00                  $0.00

5t25t2t17 MKN              Revìew correspondence related to Încident and proof of damages.                          0.4                         $140.0û
  265913                                                                                                            0.4     $350.00             $140.û0

5t251?017 MKN Case analysis and strategize regarding admissibility of t¡ial exhibits.                               0.2                              $70.00
  265916                                                                                                            a.2 $350.00                      $70.00

5?5ft417 JLT               Prepare exchange of exhibits with defendants.                                            0.3                              $67.5û
  264137                                                                                                            0.3 $225.00                      $67.50

5t26t2t17 MKN              Case and legal analysis regarding                                                        0.3                          $105.00
  265509                                                                                                            0.3 $350.00                  $105.00

si26t2017 JLT              Prepare emaîl lo defendants regarding trial scheduÌe; review trìal exhibits.             0"4                               $90.00
  2M620                                                                                                             0.4 $225.00                       $s0.CIû

5t3il2017 ÐOJ              Review and             to Mr                            for assistance in evalualing     0.3                          $114.00
  265147                                                                                                            0.3 $380.00                  $114.00

                                                                                                                                                 $ 140.00
5t3At2A17 [4KN             Case analysis regarding trial exhibits and prelrial motions                              û.4
  265356                   -                                                                                        a.4 $350.û0                  $140.00

                            Review documents and prepare to exchange exhibits"                                      ??                               9742.5A
5!3A!2A17 JLT
                                                                                                                    Òa
  265050                                                                                                            J.J     $225.00              $742.50
                                                                                                                          l¡!¡!ed

u31tz}t7 JLT                Review client centtal lile; review jr.iry instructions, prepäre motion in limine        7^4
                                                                                                                    aÁ
                                                                                                                                             $1,665.00
  265984                                                                                                            t-1     $225.û0 $1,665.00

 8t1t2A17 DOJ
  26õ253                   å:íår.î :i,:î;# ?ji: T- :; :ruT l;li
                            Nilsson regarding sanre.
                                                    :
                                                                     ffi                        ååi i :i: iJ,
                                                                                                                    0.3
                                                                                                                    0.3 $380.00
                                                                                                                                                 $114.00
                                                                                                                                                 $111.00


                                                                                                                                    \1\\))   .itij     i:¿..:\a
t,¡s¡ ì ì ,,fj.d                                                    a)ô!¡cê.1¡r!rÌ i¡.l
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    009999 OOOO12 DAI PRO BONO MATTERS
               Matter Name: Corey Mitchell v. Chavez, Sheldon (prisoner civil rights)
                                                                    Fees
                   ', . lDr'
                               Das

 6t1t2017          MKN Gorrespondence                                                                             0.6                       $ä10.û0
  267A07                       regarding evidence                                                                 0.6 $350.00               9210,00
                               further analysis
                                                                                                                  4A                        $810.00
 6t1t2017 JLï                  Telephone call with defendants regarding settlement; pre pare motion in            J.U
  2661 03                      limines"                                                                           3.6 $225.00               $810.00
                                                                                                                         ErlíterJ


 6t2t2Ð17 JLT                  Prepare motion in limine to exclude prior convictions, disciplinary actions        5.0                    $1,12s.00
  286433                       and other civil suits.                                                             5.0      $225.00 $1,125.0CI

 6t6t2417 D0J                  Assist with trial preparation.                                                     D.2                          $76.00
  267246                                                                                                          a.2 $380.00                  $76.00

 A6DA17 MKN                    Legal analysis iegarding pre-trial documenls, including trial brief, verdict       0.8                        $280.00
  269878                       lorm, jury instructions, voir dire, and statement of the case.                     0.8 $350.00                s280.00

 6/6t2017 JLï                                                                                   dants regarding   4.4                       $99û,0é
  2Eß534                                                                                                          4.4 $225.00               $990:0Ð
                                                                                                                         Ërlúed


 6flt2417          DOJ Assist with analysis of and preparation of jury instructions and potential                 0.9                        $342.00
  267605                       trialbrief.                                                                        0.9 $380.00                $342.00

 âÍ7t2017 MKN                  Review and revise exhibit list; further analysis regarding objections to           0.8                        $280.0Û
  268361                       defendants' proposed exhibits; trial sirategy and preparations.                    0.8 9350.00                $280.00

 6ftQA17 JLT                   Prepare pre-trial documents, exhibiìs, stalement of case, voir dire                 8.S                   $1,552^50
  267278                       questions.                                                                          6.9 $225.00 $1,552.50
                                                                                                                         Edìted

 6tN2A17 DOJ                   Exchange e-mails with Mr. Thomas regarding lrial preparat¡on; review and            1,9                       $722.00
  267918                       analyze            motions in limine and long teleconference with                   1.9     $380.00 s722.00
                                                                             assist with analysis of


 6tu2a17 JLT                   Prepare opposition to motion in li¡nines Nos. 1-6; prepare voir dire               10.0                    $?,25Ü.ü0
  2SBô09                       questions; prepare objections to exhibits; prepare exhibil binders.                 7.0     s225,0CI $1,575,00

 6t9t2017 DOJ                  Reviev¡ exlensìve filings of the parties, including trial brlef, voir dire.         1.4                       $532,0û
  268142                       proposed case statement; ancl exchange e-mail v¿ith Mr.Thomas regarding             1.4 $38r.0û               $53?.00
                               voir dìre.

 ø!st2017 JLT                  Frepare opposition to motion in limÌnes Nos. 'l -6; prepare voir dire               l.v                    $1,777.50
  268807                       questionsì prepare objections to exhibits.                                          7.9     $225.00 $1,777.50

6t1212t17 DOJ                  Assist v¿ith lrial preparalion, legal research regarding ethical timing and         ¿-t                       $798.00
  268454                       procedure lor addressing allorney fee claim in connection vlith pending             2.1          $0.00             $0.00
                               seltlernent negoiiaiions; memo to Mr. Thornas regarding same (NO
                               cHARGE).

6t12t2017 JLï                  Prepare trial subpoenãs; felephone call wÌth defendanls regarding                   6.0          $1,350.00
  268268                       settlement.                                                                         6 0 fi225.80 $1,350.00

lr g. l.i ,t ¡tl                                                       i.r!¡i.1.:',v::   i¡r.                                       i1.,)i,lii,ii ii.il¿*
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     OO99S9 OOOO12 DAIPRO BON¡O MATTËRS
        Matter Name: Corey Mitchellv. Chavez, Sheldon (prisoner civilrights)
                                                                 Fees




6t13t2017 DOJ              Assist with trial preparation, including review of oppositions to motions in        0.e                      $342.00
  268800                   limine, and assist with issue of defendants wanting lo continue the trial.          0,s $380.00 $342.00
611312017 lv'lKN           Review courl order regarding trial date; further review mulliple                    0.4                      $140.00
   269033                  correspondences regarding stipulation for new trial dafe.                           0.4 $350.00 $140.00
611312A17 MKN                                                                                                  0.3                      $105.00
   269434                                                                                                      0.3 $350.00 $105,00
6t13¡2D17 JLT              'Review public records regarding subpoena add¡esses; prepãre subpoenas              5.3                   $1,192.50
  2ô8604                   1o witness; telephone call with defendants regarding new trial date; prepare        5.3 $225.00 $1,192.5û
                           email to client famíly regarding trial dale.                                               Edited

6t14Í2017 DOJ              Assisl wilh analvsis whether to                                                     0.1                        $38.00
   269145                 IrNnnHÂRl;trì                                                                        0.1         $0.00           $0.00

6t14/2017 MKN              Trialpreparationsandsettle@viewcorrespondence                                       0.6                      $210.00
   271318                  and óasè analysis   reoardinoÜ                                                      0.6 $350.00              $210.00

6t14t2t17 JLT              Review revised trial schedule; telephone call with client.                          4.3                      $967.50
   268807                                                                                                      1.5      $225.00         $337.50
                                                                                                                      Eiiled

6t15t2t17 JLT              Office conference regarding new trial date; prepare emailto opposing                1.'l                     $247.s0
   269263                  counsel regarding same.                                                             4.7      $225.00         $157.s0
                                                                                                                      Ediled

u19t2j17 MKN                                                                                        analysis   0.3                      $105.00
   27t454                  regarding                                                                           0.3 $350.00              $105.00

6t71t2017 MKN                                trial       ation                  legal analysis regarding       0.8                      $280.00
   271443                                                                                                      0.8 $350.00              $280.00

6[28i2017 JLT              Review letler from client; prepare letter to client reoarding     f.                0.5                      $125.0CI
   272798                                                                                                      0.5 $250.00              $125.00
                                                                                                                      Frrlsd

6ßAt?417 DOJ               Prepare litigation case status report for firm (NO CHARGE)                          0.2                        $7e.00
   273236                                                                                                      4.2          $0.00 $0.00
7t11QA17 JLT               Revieiv letter irom client; prepare witness outlines.                               0.5                       $12s.00
   275038                                                                                                      0.5 $250.00               $12s,00

7t1?izr17 JLI              Prepare trial subpoenas for witnesses.                                              0.5                       $125.00
   275311                                                                                                      0.5      $25t.00          $125.00
                                                                                                                      E{Jítecl


7na?a17 Jl-T               Review complainls {ìled by other prisoners regarding facls pertaining to Mr         1.0                       $250,00
   275618                  Milchell.                                                                           1.0 $250.00               $250.00

7!1U2Ai7 JLï               Prepare wìtness lists.                                                              0.6                       $ 150.00

   277 113                                                                                                     0.6 $250.00               $150.00

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      Matler Name: Corey Mitchell v. Chavez, Sheldon (prísoner civil rights)
                                                               Fees



7t27nj17 DOJ           Teleconference with Mr. Thomas regarding                                       tNo              0.1                      $39.50
 279781                cHARGE).                                                                                        0.1        $0.00          $0.00

7t?7na17 JLI           Office conference rega rdins                                                                    0.2                      $50.00
 279770
                                                       I                                                               0.2 $250.00              $50.00

7t28t2017 JLT           Prepare letter to trial wilnesses.                                                             0.3                      $75.00
 280000                                                                                                                0.3 $250.00              $75.00

                                                                                                                       0.6                    .$225.ü0
7t31t2017 MKN
 280475                                                                                                                0.6 $375.00            $225.09


7ß1nA17 JLT             Finalize letter to trial witnesses; prepâre email to opposing counsel                          3.0                    $750.t0
 280214                 regardíng trial date; finalíze trial subpoenas.                                                2.4     $250.00        $6û0.00
                                                                                                                              Ëditêd


8t112011 JLT            Review trial exhibils; redact trial exhibits.,                                                 0.4                     $100.00
 280ö32                                                                                                                0.4 $250.00 $100.00
aa2a17 JLT              PreÞare opening arguments; otfice conference                  regardingn                       1,7                     $425.00
 280929                T                                                                                               1.7 $25t.oo
                                                                                                                              Ettited
                                                                                                                                               $425.00


8t3t2017 JLï            Officeconferenceregardinnl.preparetrialoutline"                                                  .9                    $475.00.
 281 589                                                                                                                 .û     $250.0CI       $4?5,Ð0,

                                                                                                                       1.2                     $'30û.90.
Bt4t2t17 JLT            Prepare witness examination notes-
 28't386                                                                                                               1.2      $250.00        s300.0û.
                                                                                                                              Edited


 8t8t2017 JLT           Review Plainliffs deposition transcript                                                        2.4                     $500.00
  282873                                                                                                               2.A $250.00             $500.00

 8ßna17 MKN             Prepate' r lrial, including pre'lrial documents, review admjssibility.and                      2.3                     $862.5CI

  2858't8               issries. objections and øçùments to overronte olijeclirns for exhibils and                     2.3 $375.00             $862.50
                        expected lrearsay testirnonY.

 8t9t2017 JLT           Review Plalntiffs deposition transcript, prepãre direct examínation outline                    4.0                  $1,000.00
  282874                                                                                                               4.0 $250.00 $1,000,00
8t1At2A17 DOJ           Review opposing counsel's correspondence regarding our subpoena to the                         t.1                       $33.50
  282722                prison psyåniatrist and review Mr. Thomas's r€sponse (No CHARGË)'                              0.1          $0^00         $0.00

8t1A!2017 MKN           Review                      from witnesses                          on-cail                    0.8                     $300.00
  285835                legal analysis                                                                      ;further   0.8 $375.00             $300.00
                        correspondence

8t1At2A17 JLT           Review Plaintifis deposition transcript; prepare direct exanrination outline                   6,0                   $1,500.00
  282875                for Plaintiff; review and analyze defendants' motion in limine'                                6.0      $250.00 $1,500.00

8t11t2t17 JLT           Prepare for lrial telephone call rçilh menlal health poordinatcr regarcling                    7.5                   $1,875^00
  282876                aubpoenn of tr" Küshnier, review Plainliffs malion in linline;review joinl                     7.5      $250.00 $1,875.oCI
                        exhibil list; revíew clefendanl's erhibit lisl; revìer"' Plaintiff s exhibit lisl;
                                                                   üoir,'ic ,¡.¡ r.¡r let                                               0l 09t0tf 1f ì9¡¡r
I'tye t,l aîJ:i
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                                                            Fees


                                               to

                                                                                                                           Ëditëtl


8t12t2017 JLT               Review and analyze defendant Chavez's deposition; prepare defendant                 '11.5                      $2,875.00
 282990                     Chavez's examination outline; review and analyze defendant Sheldon's                11.s $250.00 $2,875.00
                            deposition; prepare defendant Sheldon's examination outline.                                   EtJiîed


8t13t2017 JLT               Review and analyze defendant Chavez's depositioni prepare defendar¡t                 e.5                       $2,375.00
  282952                    Clravez's examination outl¡ne; review and analyze defendant Sheldon's                e.s $250.00 $2,375.00
                            deposition; prepare defendanl Sheldon's examination outline                                    Etlilc¡d


8tuna17 DoJ                 Âssist tvith triat preparati'on, inctuding revierv of Mr. Thomag g plggosed          2.A                          $?s0"00
 283319                     crqsi-e'xaminatibn'or ¿efendants anð cJiseuss with              himJ                 2.A $395.00 $?90,00,

8¡14t2t17 MKN               Review and revise jury instructions, witness outlines, and opening                   2.2                          $825.0Û
 28591         I            statement review exhibits and documents for impeachment; review case                 /^.L        $375.00 $825.00
                            theory and lrial outline.

                                    first day of trialto observe and assist with jury selection (NO                  3.2                   $1,264.0Û
8t15t2017 DOJ
  283874
                            -Attend
                             CHARGE).                                                                                3.2         $0.00 $0.00
8n5t2)17 MKN
                            ffi'
                            Conference with Mr. Mitchell;review                                                 13.1                       $4,C:12.50
  285932                                      review and                                                        13.1         â375.00 $¿',st2;so
                                             trial; prepare for cross-êxamination

8t15t2t17 MKN               Travel to Fresno Federal Courthouse.                                                     1.7                      $637.50
  285934                                                                                                             1.7 $375.00              $637.50

B¡1512017 JLT               Travel to and attend lrial; attend prelrial conference regarding motions in         13.0                 $3,250.00
 285760                     limine.                                                                             13.0         $250.00 $3.250.00

8n6na17 DCIJ                Attend portion of lrial to observe and assist team rvith questions at break              2.8                   $1,106.00
  284124                    iNo CHARGE).                                                                             2.8          $0.00 $0.00
8n6t2A17 MKN                Prepare      and attend                                                             14.7                       $5,512.50
  2854.20                                                                                                       14.7          $375.00 $5,s12.50




8t16t2017 .JLT              Attend trial; prepare clefendant Sheldon's cros:-èxamination outline,               18.0                       $4,s00.0ü
  2857ö2                    prepare defe¡rdant Chavez's cross-examinatìon outline'                              18 0          $250.00 $4,500.00
                                                                                                                     18,                       $987.50
Bl17t2t17 DOJ               Àttend trial as observer to assist with issues and questions of trial
                            attorneys: teleconference with lhem on preparing for closing argument (NO                )<,          $0.0û            $Û.oo
  28433S
                            CHARGEi.

                            Prepare lsr ancl atten<J trìal; clrafl closing argrrnrent: review and revise
                                                                                                                lÃ ?                  $5,737.s0
8t17t2017 MKN
  285436                    proþosecl jury ¡nåtruritiû¡rs and verclici fr¡rnr; conference vitlr JucJge Drozd;   '15.3         $375.00 $s,737.5t)
                            ievietv mental håí¡lth rÊccrds; colrfer*nce';ith csunsel for 0r. Kushnier.

UfinAfi JLT                 Atìend trial; revie'w medical records regarding menlal health records for in                                    $3,750.00
                                                                                                                '1
                                                                                                                     5.0

                                                                     Jl< rÞ,2 J-1,ûi) i,i
                                                                                                                                      ,:i,r9 liJll 1i)-)!Js
Ì tgz ì ) .'{ :t'
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                                                        Fees


                        camera
 2857ô4                                                                                                        15.û $250.00 $3,750.00
                                                                                                                ,'Ê                  $1,382.50
8t18t2017 DOJ           Attend                                           Mr
 284694                                                                                                         3.5        $0.00         $0.00
                                                                                                                      Ecliled


8t18t2017 MKN                                                                                  of verdict;     11.8                  $4,425.00
 285451                                                                                                        11.8     $375.00 $4,425.00

8l1Bl2O17 MKN Travelto Bakersfield office                                                                       1.7                     $637.50
 285452                                                                                                         1.7     $375.00 $ô37.50
8t18t2017 JLT           Attend trial and travel from court.                                                    12.0                  $3,000.00
  285781                                                                                                       12.4     $250.00 $3,000.00

8t21t2t17 DOJ           Assist                                                                                  ó.¿                  $1,264.00
  285337                                                                                                        2.7     $395.00 $1,066.s0



8t21t2Ð17 MKN                                                                              analysis             1.3                     $487.50
 285459                                                                                 outline and elosing     1.3, $375.00            $487^50
                                                                                    telephone conference


8t21t2017 MKN                                                                                        further    2A                      $900,00,
 285465                                                                                                         2.4 $375.00             ,s900,00,


                                                                                    of attornays'fees for:
                        suits by

u21t2A17 JLT            ôffice conference                                                       revtew          6.0                  $1,500.00
  285757                punitive damages                                                         defendants'    6.0     $250.00 $1,500.00
                        âssets.

8t22t2t17 DOJ           Assist wilh preparation for punilive damages trial phase and with claim for                                      $434.50
  286361                attorneys'fees.                                                                                 $395.0û $434.50
a2a2u7 MKN                                                                                                      3.ô
                                                                                                                a2
                                                                                                                                     $1,350.00
  285954                                                                                                                $37s.00 $1,237.5t
                                                             and lrîal;
                                 revise and finalize proposed jury instruction and verdict form

8t22i2017 JLT                                                                                                   4.6                   $1 , 15o.oo

  285505                3*i#- ilï:îå'?ï"li,i     ilXïåffi :i"åiHl;,,:ii "i'i"iiå:ii låo ",.
                        letter brief for selllement conference.
                                                                   ;                  I                         3.6 $250.00 $S00.00
                                                                                                                      Ed¡ted


8t23t2417 MKN           PreÞare for punitive phase of trial; attend seltlenrent conferenee v;ith                5,7                   $2,137.50
  288467                Magistrate Juclge Auslin; preparÊ terms for settlement agreetnent: further              s.7     $375.00 $2,137.50
                        iriaf proceedings with Judge Drozd regarding set aside of verdict'

8t23t2017 MKN           Travel to and back from Federal Couñ in Fresno.                                         3.3                   $ 1 ,237.5û


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                                                             Fees



 288468                                                                                                                         ,237.50

8t23t2017 MKN          Conference with client regarding                                               1,8                      $675.00
 288469                further conference with jurors.                                                1.8 $375.00              $675.00

8/23t2017 JLT          ,Attend trial and settlernent conference                                      10.0                   $2,s00.00
 286496                                                                                              10.0 $250.00 $2,50û.00
a24t2}17 DOJ           Review and analyze Coud's orders regarding the settlement and lhe             ô.2                         $7e.0Û
 286787                amended jury verdict.                                                          0.2 $39s.00 $79.00
u25t2v17 DOJ                                                                                          0.3                      $118.50
 2t6978                                                                                               0.3 $395.00 $118.50

a25¡2A17 JLT           Review setllernent document provided by defendant; office conference           0.6                      $150.00
 286886                regarding siatus of case.                                                      0.6     $250.00          $150.00
                                                                                                            I:rttbd

8t28t2017 MKN          Multiple correspondence regarding settlement agreement and moiion for          0.4                      $150.00
 288540                attorneys'fees.                                                                0.4 $375.00 $150.00
8t28t2017 JLT          Review revised settlement agreement; revîew email from opposing counsel        0.4                      $100.00
 ?87142                regarding same.                                                                0.4     $250.00          $100.00
                                                                                                            E<liled


8tyna17 DoJ            Detaited, rev¡ew and analYsis of                                               û.7                      $2T*50
 288413                                                                                               0.7 $395.00              $-3?6.5û
                       üi:are-mãirw¡th
8t31t2017 MKN                                                                                         0.4                      $15Û.00
 288584                                                                                               a.4 $375.00 $150.00
g1l2a17 DoJ            Further work on update of Firm's status report and analysis regarding          0.3                      $118.50
 28869S                -
                       liming of atlomey fee motion (NO CHARGE).                                      0.3         $0.00          $0.00

               MKN CorrespondencewithMr.Mitchellregarding                                             0.4                      -$:150,0t
 9t1t2Q17                                                                             -               t.2 $375.00                 s?5'00
 290379

 en!2417 JLï                                                                                          a.2                         s50.00
 288646
                       Review letter from client regardins
                                                             In                                       v.¿     $250.00             $5ü.t0
                                                                                                            Etliter)


 Sl2l2ß17 MKN Case analysis regarding                                                                 0.6                       $225.00
  2S0395                                                                                              0.3 $375.00               $112.5û

 9t5t2t17 JLT          Review settlemeni agreement; prepare email to apposing counsel                 2.2                       $5s0.00
  288805               regardíng selllement agreement; telephone call with opposing counsel           2,2 $250.00               $550.00
                       regarding same.                                                                      Edìteil


                       Review writ of execution and correspondence to Sherriff regarding              0.5                       $ 187.s0
 9tôt2017 MKN
  2904 1 6             execution of vrrit; correspondence with publíc defender regarding potential    0.s $375.00               $187.5û
                       writ of certiarori-

                                                                                                                                  $7S.00
1*¡r l? rfl0                                                      Ik*l{r,{iù¡   l¡.                                    ai,ûr.:l3il i{ì.1}¡rr
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                                                           Fees




 289657                                                                                                       0.2        $0.00           $0.00

9t7t2017 JLT                Prepare letter to client regarding                                                a.2                      $50.00
 289736                                                                                                       0.2 $250.00              $50.00

9t18t2017 DOJ               Reçiçv¡                                                     agreement; internal   0.3                    $118.5t
 2ú215s                                                                                                       0.3 $395.00            $118.s0

9Ì18t2017 JLT               Prepare motion for fees; prepare email to counsel regarding setllement            1"2                    $300.00
 292008                     agreement lerms.                                                                  1.2 $250.Õ0            $300.0ü

thst2017 DoJ                                                                         internal                 0.7                     $27ô.50
  292536                                                                                                      0.7        $0.00          $0.00

SnglZAlT MKN tase analysis                                                                                    0.5                     $187.50
 294006                                                                                                       0"5 $375.00             $187.50

9t19t2017 JLT               Prepare motion for atlorneys' fees,                                               3. I                    $925.00
 292314                                                                                                       3.7 $250.00             $925.00
                                                                                                                     Edtted


9t"Dt2t17 DOJ                                                                                                 0.8                    '$3{û,CIÐ,
  292848                                                                                                      0.8 $395.00            '$316rCI0


gt2u2a17 JLï                Prepare email lo opposìng counsel regarding settlement agrêement'                 0.6                     $1s0.00
  292475                                                                                                      0.6 S25û,û0             s150.00
                                                                                                                     Edited


512512017 MKN Legal analysis regarding                                                                        4.2                       $75.00
  295627                                                                                                      0.2 $375.00               $75.00

9t27nû17 DOJ                Review status and internal correspondence regarding                               a^2                       $79.00
  295143                                                                                                      a.2 $3S5.û0               $73.00

9n7na17 MKN                 Case            regarding                                                         0.4                     $150.00
  295462                    fr.lrther                                                                         0.4 $375.00             $150.00

9l?7!2A17 JLT Negotiate setllement temls.                                                                     0.3                       $75.00
  295055                                                                                                      0.3 $250.00               $75.00

9¡2812817           DOJ Review e-mail resolving remaining settlement agreement issue.                         0.1                       $3S.5û
  295417                -                                                                                     0.1 $395.00               $39.50

9128t2017 MKN Review multiple correspondence regarding final agreement and stipulatíon.                       0.3                     $112.50
  2954S1                                                                                                      0.3 $375.00             $112,50

9t28nj17 itT                Revise settlement'aErèement and prepare email tggggosing counsel                  0.5                     $125.00
  295184                    regarding       pte:parc lel.ter to clierireAardìngll.                            n{       $250.ü0        $125.00
                                        "arne;                                                                       Ed¡lecl


10t2t2017 DOJ               Update firnr's status report (NO CHARGË.).                                        Q,2                       $79.00
  2S6û30                                                                                                      02.         $0.00 $0.00
                                                                  Ûc*t¡e Å¡¡o¡ I¡¡                                             el€9,:$13 1t Itrxr
i:rg: l) oilt
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  OO9S99 OOOO12 DAI PRO BONCI MATTERS
     Matter Name: Corey Mitchell v. Chavez, Sheldon (prisoner civil rights)
                                                                F:ees
                lr '..



10110i2017 MKN Review stalus of settlement agreement and motìon for attorneys'fees.                                   0.2                       $75.00
 300642                                                                                                               0.7 $375.û0               $75.00

10t12QA17 JLT            Review letter fronl client regardins                                                         0.1                       $25.00
 298301
                                                                I:                                                    0.1 $250.00               $25.00

10113/2017 MKN Review finalsettlement agreemenl and payee data forms.                                                 t.2                       $7s.00
 3tÐ744                                                                                                               0.2 $375.00               $75.00

13n3t2017 JLT            Execule settlement documents; prepare email to opposing counsel                              1.0                     $250.00
 298383                  regarding settlement.                                                                        0.6     $250.00         $150.00
                                                                                                                            Ê.diled


10/31/2017 MKN Case analysis regard                                                                                   0.4                     $1€0
 303815                                                                                                               0.2 $375.0Õ               S75i00

111112t17 DCIJ
 303436


11t2t2017 DOJ
                         ffi
                         Update firm's case status report; review and revise letter to ciient regardíng
                                                                                                                      0.4
                                                                                                                      0.4


                                                                                                                      0.7
                                                                                                                                ,$t,oü
                                                                                                                                              $158i90
                                                                                                                                                  $ü40ü


                                                                                                                                              $?7€i50'
 303896                  next steps (NO CHARGEi.                                                                      4.7        $0.00          $olou'

11t2t2017 JLT            Prepare letterto client regarding                                                            1.2                     $'30û1,00
 303475                                                                                                               1.2 $250.00             ,$300;00
                                                                                                                            Ediled

11t3t2017 JLT            Continue to prepare letter to client regardinsf.                                             0^7                     $175,00
 303968                                                                                                               0.7 $250.00             $175.0CI

11i6:!/617 JLT           Prepare email to opposing counsel regarding dismissal.                                       Ð.2                       $50.00
 304266                                                                                                               0.2 $2s0.00               $50.00

11n¡2A17 MKN             Revíev¡             and                       lor dismisaal; furlhêr analysis                U,J                     $112.50
 309440                  regardíng                                   review slatus tfi funding settlernent.           0.3 $375.00             $112.50,

11ftnA17 JLï             Review filed stípulation; prepâre letter to Attorney Jamison regarding status                2.A                     $å0r.00
 3045d.6                 of case; pråpare motion for fees,                                                            ¿.v     $250.00         $50CI.0ü
                                                                                                                            Erjted

11t9tzt17 DOJ            Telephone conference with Mr.Thomas regarding status. (NO CHARGE)                            0.1                       $39,50
 305332                                                                                                               0.1         $0.00          $0.00

11tgt2t17 JLT            Prepare motion for fees                                                                        1         927s.04
 30541   I                                                                                                              1 $250.00 $275.00
1111012017 JLT           Review letter from client regarding                              prepare email to court 1o   u-q                     $ 100.00

 3055?1                  arânge telephone call.                                                                       0.4 $250.00             $ 100.00

11t1A2A17 ÐAJ            Review and                                           cli*nt                                  0,7                     $276.50
 3û5855                                                                : ç-nail a                              Mr     a.7 $395.00             $27ô.50
                                                                                       'i*Htrlfencewìrh
11/13i2017 MKN Revievr letter rega rding pending fee petition: further analysis regarding                             0.7                      $262.50
                                                                     }outua, ¡¡tut i,t:                                               t1 ùtlia',iS 1t.ìtr¡)
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   009999 OOOO12 DAI PRO BONO MATTÊRS
             Matter Name: Corey Milchell v. Chavez, $heldon (prisoner civil rights)
                                                              llees



  309540                                                                                                      0.1 $375.00 $262.50


11f13t2t17 JLl           office conference   regardingnt                             analyze status   of      0.8                     $200.00
  305607                                                                                                      0.8 $250.00             $200.00
                                                                                                                    Edited
                        -
11t14t2017 JLT           Review order regarding telephone call with client.                                   0.1                       $25.00
  305904                                                                                                      0.1 $250.CI0              $25.00

1t,1/J5120T" ÞCIJ                                    ?¡rËeT                                                   0.5                     $197.50
  3ÐÊ733                                                                                                      0.5 $395.00             $'197.50

11/15i2017 MKN           Prepare     and                                                                      0.5                     $187.50
  30s575                                                                                                      0.5 $375.00             $187.50


11t15t2017 JLT
  306753                 åi:fjì'iåi,,f *lHiå.8i:'ffi¡flff     PÑif ffi ,:gffi                nceresardins     1.5
                                                                                                              1.5 $250.00
                                                                                                                                      $375.00
                                                                                                                                      $375.00

11t18t2017 JLT           Prepare fee petition; prepare emailto Ms^ Burnell regarding fee petition.            2.4                     $500.00
  307805                                                                                                      2.0 $250.00             $500^00

11/2012017 MKN                                           Th                                                   0.2                       $75.0Û
  309ô17                                                                                                      Ð.2 $375.00 $75.00
11t2812t17 tOJ           Revíew and analyze Courts order rejecting stipulation for dismissal; memo            0.3                     $iltg,gg
  31 CI1 53              lo Mr. Thomas and Mr. Nilsson regarding same.                                        0.3 $335.00             $J 18,50

11/28/2017 JLT           Review order denying stipulation; research ãttorney'$ fees issue.                    2.8                     $7û0,ûn'
 309å82                                                                                                       2.0 $250.00             $sto.oo
                                                                                                                    EdilerJ


11t29t2017 tAJ           Review motions filed by client and internal e-mailwìth Mr' Nilsson and Mr.           0.4                     $158.0CI
  31 051 7               Thomas regarding same.                                                               0.4 $395.00             $158.0û

11/29i20'17 MKN          Review court order and                                            ; case analysis    0.3                     $112.50
  31 1469                regarding                                                             deadline for   0.3 $375.00             $112.50
                         filing

11t25t2017 JLT           Review molion filed by Plaintiff regatding fees                                      0.2                        $50.00
  31 02ô2                                                                                                     Ð,2     $250.00            $50.00

 121112ù17       DOJ Revise firm status report (NO CHARGE).                                                   0.1                        â39"50
  311114                                                                                                      u-¡        $0.00            $0.00

12t4t2017 DOJ            Review client's withdrawal of request {o amend settlement agreement;                 U.J                      $11S.50
  311515                 teleconference with Mr. Thomas regarding same and contents of the                    0.3 $395,t0             s118.5û
                         Status Report to be filed.

 12t4t2017 MKN           Case                                                                                 0.3                      $112.50
  31 5376                                                                                                     0.3 $375.00              $112.50

P:6--;1; ortnn                                                  i-!r*l!¡ ârror åre                                            irili9;:íit.c lfÌ?9re
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                                                               Fces



12t4t2017 JLT            OñiceconferencewithAttorneyJantisonresarclinof'                                 o.2                                  $50.00
 31 1 641                                                                                                0.2        $250.00                   $50.00

12t5t2017 JLT            Prepare email lo Atlomey Jamison       resardinof                 .             0.1                                  $25,00
 31 1662                                                                                                 0.1 $250.00                          $25.00

12t8t2}17 DOJ            Assist with research for and assisl w¡th anafysis and preparation of status     1                              $434.50
 312849                  reporl for the Court.                                                           1          $395.00 $434.50
12t8t2017 JLT            Prepare status report to court regarding fees.                                  5.0                         $1,250,00
 3168S7                                                                                                  1-0        $250.00 $250.00
12t9t2017 JLT            Prepare status report to court regarding fees.                                  2.0                             $500.00
 31 6896                                                                                                 2,0        $250.00 $500.00
12t10t2017 JLT           Prepare status report to cou¡t regarding fees.                                  7   -A                      $1,750.00
 316895                                                                                                  7.0 $250.00 $1,750.00
12t11na17 DOJ            Assist with preparation of slatus report requested by Court (NO CHARGE)-        0.5      $137.50
 3ß2A7                                                                                                   0.5 $0.00 $0.00
12l11/2017 MKN Review and revise status conference slaÌement.                                            0,7                             $262.50
 31 5664                                                                                                 a.7 $375.00                     $262.s0

                         Prepare status report to court regarding fees.                                  1ô                              $975.00
12t11n417 JLT
 316900                                                                                                  3.9 $250.00                     $975.00

12t13t2017 DOJ           Review defendants' objections to our slatus report; teleconference with Mr      0.3                             $118.50
 31 383S                 Thomas regarding same,                                                          0.3 $395.00                     $1 18.sCI

't2t13t2017 JLT          Draft response to Defendants objection to our status report.                    0.7                              $'t?5.00
 31 3878                                                                                                 4,7        $250.00               s175.t0
                                                                                                                   Edìled


12t1412017 DAJ            Review dratt of response to defendants'
                                                                                                         n    s         $197.50
 314097                      conference with Mr. Thomas reg*rding                                        û    5 $3S5.00 $197.50

12l14/2017 MKN Review bríefings relatecl to rnotions for attorneys'fees                                  0.4                              $'150.00
 31 5691                                                                                                 a.4 $375.00                      $ 150.00

12t1412A17 JLT            Prepare response to Defendants'objection 1o our status report,                 1.8                              $,lSû.00
 31 3857                                                                                                     t,Õ    $250.00               s450.00
                                                                                                                   €tUçd

1211912017 MKN Review filings; legal analysis regarding                                                  0.3                              $11?^50
  31 481     I                                                                                           0.3 $375.00                          $112.50

12t21t20'17 DOJ           Revie'¡¡ courl orcler requiring liling of motion for attorney fees; rnlernal   0.4                                  $158.00
  31 5997                 correspnnclence'//ith tr¡r. Ttianlaõ ancl lvlr. I'lilsson reOardinC  fl  .     0.4 $395.oCI                         $ 1 58.00


12t21i2317 MKN            Review courl order and legal analysis     reSardinsS.                          0.3                                  $112"50
  31 6796                                                                                                CI,3 $375.00 $112.50

                                                                                                                            ûi ,!l    ìi!li     ,!, )+¡r!
lre¡)¿"li1                                                         l-r:ttti*g .!¡i:¡1t¿1
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  009999 OOOO12 DAI PRO BONO MATTERS
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                                                           Fees




12t21t2A17 JLT       Review court order,                                                              0.5                     $12s.00
 31 5797                                                                                              0.5        $0.00          $0.00
                                                                                                             Edited

                                                                                                      .ja                     $352.00
12t21t2017 KtB       Review emails from Mr" Thomas and Mr. Jamison relaling to the
 31 641 8            preparation of'{he attorney fees motion;,obtain and review the billing entries   2.2 $160,00             $352.ûCI
                     on ihe Dowling Aaron invóices; conferÊnce with Mr. Jamison relating to the
                     information he would like to have redacled: cr¡nference with accounting to
                     determine how to besl revise the billings to conect errors in spelling;
                     review and revise invoices to correct spelling in error and correct grãmmar'

12t22t2017 Ktg       Review and revise invoices to correcl spelling in error and correct grammari'    1-6                     $256.00
 316419              review Worldox to discern the acronyms and spell out lhe names after             1.6 $160.00             $256.00
                     determination of lhe proper narne.                                                      Êdited


12t26t2}17 MKN       Review correspondence front Mr. Mítchefl and case analysis regarding             0.3                     $112^50
 317996              response.                                                                        0.3 $375.00              $112.s0

12127t2A17 tOJ'      Assist with preparation of evidence for motion for altorney fees'                t.2                       $79.00
 317320                                                                                               4.2      $395.00           $7s.CI0

12t28t2017 DOJ       Work on evidence for attorney fee motion.                                        0.8                     $316.00
 317607                                                                                               0.8      $395.00        $316.00

12J2912Afi   DOJ Assist with prepatation of evidence for aitorney fee motion.                         0.5                      $197.50
 317785                                                                                               0.5      $395.00         $197.50

 1t2l2}18 DOJ        Further work on exhibit for motion for fees and internal e-mail vvith            a.4                      $158.00
 31 8236             Mr.Thomas and Mr. Nílsson      regardinü.                                        0.4      $395.00         $1s8.00

 1t312018 DOJ        Update Firm's status rePort.                                                     4.2                        $79.00
 318541                                                                                               0.2      $395.00           $7e.00

 1t3!2018 JLT        Prepare nlotion for fees and costs.                                              c.(]                     $950.00
 31 8530                                                                                              38 $2s0.00               $s50.0û
                                                                                                             Etl¡tèd

                                                                                                                               $ 125.00
 1!4t2t1B JLï        Pr-epare fee motion.                                                             0.5
 31 8741                                                                                              0.5 $250.00              $125.00

 1!5t2018 JLI        Prepare rnotion lor fees and costs                                               7.4                   $1,750.00
 319063                                                                                               7.4      $250.00 $1,750.00
                                                                                                      q)                    $1,300.00
 1t6t2?18 JLT        Prepare motion for fees and costs
                                                                                                      ç,4      $250.00 $1,300.00
 31 9065

 1t7t2018 JLT        Prepare motion for lees ancl costs; revìew pre-bills and costs.                  6.5                   $1,625.00
 319066                                                                                               þ.3      $250.00 $1,625.00
                                                                                                      a-7                   $1,066.50
 1!8t2018 DOJ        Assist vvith preparation of papets in support of rnotion for attorney fees
 31 9376                                                                                              2.7      $395.00 $1,066.50
                                                                                                      )Å
 1l8l2}ß JLT         Continue 1o prepare lee nlotion; review prebills and cosls                                                $6C0.00

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            Metter Name: Corey Mitchell v. Chavez, Sheldon (prisoner civil rights)




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                               Total SeleqledFees
                               Total Ð-siS@d Fees                                    û:û'    ;$-tiOü             $s.0CI
                                        Tolal Fees             622.9 ${74,509.00 .ât{,t,    $ã66i*A    $160,0¿18.50



                                                           Cost & Expeuses




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                                                            Cost & Expenses:



2t24t2417 ,RGS
 3E4081


2t24ina17 RGS            Petty Cash- Miscellaneous. Miscellaneot¡s,Cosl Bank of America charged to'g.trchase                .$10-00
 384082                  ,cash¡errs check f-o¡ records pursuant lo supboena. {110955}                                        $10r0O



4t1,8;t20:17 F,IRM       Wbod &,Randâll-.Court RÞporters" TlãnsCripts       of, T, sheldon and G', Chãvêzfl'12569)'        $#,Þ:qS:
 335428                                                                                                                    ;$9T,f.;ã&



5139t2017 FIRM First Records Relrieval,. Processor Fees- Subpoena {112908}                                                 $1,09,50.
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Vt31,Ê0117 ftKM,EonnieDaViega-.ìÂIitnessÈ" Witn"ts Fees (11,4318J
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  830178                                                                                                                   $.f$.f'.',4i


8ì15n}fi FIRM First Legal Ne,twork LLC- Processor Fees- Subpoena to appear attrial {114286}                                   $6Ê."76
 405633                                                                                                                       $oo.zs


                                                                      '(1'143841,                                             $s4.75
8n512A17 FIRM First Legal Network LLC- Processor Fees-
 405918                                                                                                                       s84.75



UßZAfi flRM First Legal Network LLC- Proeessor Fees- {114383}                                                                 $85.38
  40591     I                                                                                                                 $85.38



811512017 FIRM First Legal Nehruork LLC- Processor Fees- {114404}                                                           $1:03';0'1,
 406252                                                                                                                     $¡'sl.c+


8115t2017 FIRM First Legal Netwot'k LLC- Pr:ocessor Ëees- {114496i                                                          s10e.60,
  406253                                                                                                                    $10'S"0*



812412017 FIRM Enterprise Rent-A-Car- Travel Reimbursement- MKN Rental Vehicle {1145571                                       $53.74
  406640                                                                                                                      $53.74



Bngt2}fi FIRM Enterprise Rent-A-Car- Travel Reimbursemenl- MKN Rental vehicle 11142741                                      $?70.18
  405569                                                                                                                    $270.1&

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  OO999g OOOO12 DAIPROBCINOMATTËRS
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                                                          Cost & Expenses




S/e9/å017 FIRM Ënterpnse Rent-A-Car- Travel ReimbursEment- JLT rentalvehicle 1114274,                 $2?ü,rs
 4s5-S70                                                                                             $27S;1,û



8l2gl2}17 FIRM Karen Hooyen- Transcription Fees- Transcript of closing arEuemenls t11,4287)           s3lû,40
 405588                                                                                               $3J0.4{


SlfW2017 FIRM First Legal Network LLC- Processor Fees- Subpoena to aPpear at bial {1 142U,             $66.76
 405632                                                                                                $66. 78


8ß1f2}t7 FIRM Gelden Stále Ovemight- Overnight Delivery- RÊcip¡ent: US Gourt Reporter{114547}           $:l4ilS
 406.542                                                                                                $,14.lq


9Í3t12Ð1:,V FIRM RÊLX lnc. DBA LexisNexis- Miscellaneous- {114517}                                    $T2S"et
 40s5ô2                                                                                               97!S.9A


gl25l2t17 FIRM VISA- Miscellaneous' PRXCharge.Prozi.com tl14819)                                        $20,0G
 408281                                                                                                 $st,00


àn\ngfl FIRM VISA- Travel Reimbursement- JLT Meal (114818)                                                $4"25
 408282                                                                                                   $4.25



9n5t2117 F,R't\4 VISÀ- T¡avel Reimbsrsemént: JLT meal {114816}                                          $T0.25
 408?83                                                                                                 $10.25


g¡2512s17 FIRM VISA- Travel Reimbursement- JLT nteal{1148'lô}                                             $5,51
 408?84                                                                                                   $5.51



9l25nAfi FIRM VISA- Travel R*imbursement- JLT meal{11481€}                                                $2.0û
 .4û8285                                                                                                  $2.00



912512017 FIRM VISA- Travel Reirnbursenrent- JLT Colfee {11481ô}                                          $5.00
 4S8288                                                                                                   s6.00


gt25l2}17 FIRM VlgA- Travel Raimbursement- JLT Meat{11då16}                                             Î17.17
  4A8287                                                                                                917.17




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          Matter Nanre: Çorey Milchellv. Chavez, $heldon (prisoner civil rights)

                                                         Cost & Expenses



gl25¡2t17 FIRM VISA- Travel Reimbursement- JLT lodglng t114å18)
 408288


ån5nfl7 FÍRM VISA- Travel Reimbursement- JLT parking t114816)                              $8,ât'
                                                                                           ,58_5Ë,
 4ð8289


912512017 FIRM VISA- Travel RelmþursemenL JLf parking tl14816)                             s9.50
 409290                                                                                    $s.50


gl25!2}17 FIRM VISA- Ir¿vel Reimbursement- JLT parking t11*åf 61                          $J2,5û
 408291                                                                                   $1,ã-50



ïn\l&Afi F¡RM VISA- Travel Rsimbursemenþ JLT tuellor rcntal vehicle {114816}              $22.s7
 408?92                                                                                   $22.e7


gt28,Í2017 FIRM VISA- Travel Reimbursemenþ MKN Meal {114878}                                $7.75
 4Ð9822                                                                                     57.75


9128t2û17 flRM VISA- Travel Reimbursement- MKN pa*ing {11487Ð}                            $1,ä.S0
 408823                                                                                   $13,5ü,



A28t2A17 flRM Vl$A- Travel Reimbursement- MKN meal {114878}                               s10.75
 4t8824                                                                                   $10.75


912812817 F¡Rfu'l VISA- Travel Reímbursement- MKN Parking i11487Ê)                        $12.s0
 408825                                                                                   $12.50



912å¡2017 FIRM VISA- Travel ReìmÞursemenl- MKN partqíng {114878}                            $å"5$
 408826                                                                                     s$.50



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                 Matler Name: Corey Mitchell v. Chavez, $heldon (prisoner iivil righls)

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                                                                                     Balance Forward                          $0.00                   $0.00

                                                                                 Selected Fees                        $174,509.00,
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                     Retainer Balance              -$511.s$             Retainer Amount to ApplY
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         (b) Accordingly, an appointment under this section may be made regardless
                 of whether the defendant is financially able to obtain adequate
                 representation. ln such cases, compensation will be determined by the
                 judicial officer according to CJA hourly rates and case compensation
                 maximums,

         (c) The Administrative Office of the U.S. CouÉs' (AO) Defender Services
                 Office should be consulted regarding appointment and payment
                 procedures. lf, during the course of the proceedings, a pro se defendant
                 who is financially able to retain counsel elects to do so, the court's
                 appointment of an attorney under ls'ürË,lË, fi 3ü06'4{$,1 may be
                 terminated.

 S 220.60 Termination of Appointment

 ln any case in which appointment of counse I has been made under the CJA and the
 court subsequently finds that the person is fi na   able to obtain counsel, such
 appointment should be terminated using



 S 230 Compensation and Expenses of Appointed Counsel

 S 230.10 Forms for Compensation and Reimbursement of Expenses

 Forms for the compensation and reimbursement of expenses to appointed counsel,
 together with instructions for their use, may be found on the g*¡hlL# i*dfciary,u¡ebsite. A
 coþy of all supporting documents that itemize or expand the amounts shown on the face
 of Fornl CJA 20 must be attached.

 S 230.13 Time Limits

         (a) Vouchers should be submitted no later than 45 days after the final
                 disposition of the case, unless good cause is shown. The clerks of the
                 concerned courts should ensure that attorneys comply with the prescribed
                 limits. Every effort should be made to have counsel submit the claim as
                 soon as possible upon completion of services rendered'

         (b) Absent extraordinary circumstances, judges should act upon panel
                 attorney compensation claims within 30 days of submission'

 S 230.16 Hourly Rates and Effective Dates in Non'Capital Cases

         (a) Except in federal capital prosecutions and in death penalty federal habeas
                 corpus proceedings, compensation paid to appointed counsel for time
                 expended in court or out of courl or before a U.S. magistrate judge may
                 not exceed the rates in the following table. For information on
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                 compensation of counsel in federal capital cases and death penalty
                 federal habeas corpus proceedings, see: Guidq, Vol, 74, $ 630.

                                      $ 230.16(a) Non-Capital Hourly Rates
                 lf services were performed between...      The maximum hourly rate is...
                 A5rc512017 to present                      $1 gz

                 A1 rc1 n016 through O5lA4l2O17             $1 2e

                 01 101 12015 through 12131 l2A1s           $l 27
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                 01 I 01 12006 through 05 I 1912007         $gz

                 lsl 01 12002 throu gh 1 zlY nA05           $go

         (b)     For rates applicable to services performed prior to May 1 ,2002 for non-
                 capital cases, please contact the AO's Defender Services Office, Legal
                 and Policy Division Duty Day Attorney, at 2Q2-502-3030 or via email at
                 DSO LPD@ao,uscout-ts.goy.

 S 230.20 Annual lncrease in Hourly Rate Maximums

 Under 18 U.S.C. S 30064(d)(l), the Judicial Conference is authorized to increase
 annually all hourly rate maximums by an amount not to exceed the federal pay
 comparability raises given to federal employees. Hourly rate maximums will be
 adjusted automatically each year according to any federal pay comparability
 adjustment, contingent upon the availability of sufficient funds. The new rates will apply
 with respect to services performed on or after the effective date.

 S 230.23 Case Compensation Maximums

 S 230.23.10 Applicability and Exclusions

         (a)     ln General

                 All compensation limits apply to each attorney in each case.
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                         SETTLEMENT AGREEMENT AND RELEASE

                                             I. PARTIES
        This Settlement Agreement and Release (Agreement) concerns Plaintiff COREY
 MITCHELL, California Department of Corrections and Rehabilitation No. F-23331 (Plaintiff)
 and the California Department of Corrections and Rehabilitation (CDCR) on behalf of
 Defendants G. CHAVEZ and LT. SHELDON (Defendants), Plaintiff, CDCR, and Defendanrs
 shall be referred to as "the parties."

                                           II. RECITALS
         Certain disputes and differences have arisen between the parties to this Agreement.
 These disputes and differences resulted in Plaintiff filing a complaint in the United States District
 Courl for the Eastern District of California, COREY MITCHELL, #F-23331 v. DAVIGA, et al.,
 Case No. 1:13-cv-01324-DAD (EPC) (the Complaint). This Agreement covers all of the claims
 and allegations in the Complaint and any amendments thereto against all Defendants, whether
 named or unnamed and wirether served or unserved, and any past or current employees of
 CDCR.

          Defendants, including CDCR, deny all of the allegations of wrongdoing made by Plaintiff
 in this lawsuit. The parties, however, now desire and intend by this Agreement to settle all
 disputes between them relating to the claims alleged in the Complairt, including any rights to
 appeal, and that concern in any way the allegations of the Complaint, and to discharge each other
 from any and all liability with reference to such ciaims, except as specifically set forth in this
 Agreement.

          Therefore, in consideration of the covenants set forth in this Agreement, the parlies settle
 their dispute on the terms and conditions set forth below.

                                 III. TERMS AND CONDITIONS
         I'     Plaintiff shall sign a voluntary dismissal with prejudice under Federal Rule of
 Civil Procedure 4 I (a)(t)(AXii), which Defendanrs shall fi Ie immediately.

          2.' CDCR shall pay Plaintiff $ 160,000.00 (the settlement amount). However,
 Plaintiff understands that CDCR is obligated by Califomia Penal Code section 2085.5 to collect
 any amounts owed by a prisoner under a restitution fine or order, including any adminisû.ative
 fees related to such amounts. Such amounts and fees will be deducted from the settlement
 amount and paid on Plaintiff s behalf as required by Penal Code section 2085.5. If the settlement
 amount exceeds the restitution amounts and fees, the excess balance shall be made by check to
 PlaintifPs inmate trust account or to another payee if designated by Plaintiff. Plaintiff further
 understands that CDCR is obligated to pay all outstanding liens against Plaintiffl known or
 unknown, if any, which amounts must be deducted from the settlement amount and paid on
 Plaintiffs behalf to the lienhotder(s) with the exception of the obligations expressly set forth in
 Paragraph 3 of this agreement below.




 COREY MITCHELL, #F-23331 v. DAVIGA, et al.,CaseNo. t:13-cv-01324-DAD (Epc)
 Settlement Agreement and Release
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         3. Plaintiff requests that the settlement amount be made payable "Dowling Aaron
 incorporated Client Trust Account for and on behalf of Corey Mitchell" and mailed to Plaintiff s
 counsel, Justin L. Thomas, DOWLING AARON INCOIRPORATED, 5080 Caiifornia Avenue,
 Suite 340, Bakersfield, CA 93309. CDCR shall make a good-faith effort to deliver rhis check
 within i80 days from the date of execution of this Agreement. Ifthe check has not been mailed
 within 180 days, CDCR shall file with the Court a status repoft regarding why the check has not
 been delivered and a statement of the expected payment date. Plaintiffls counsel shall complete a
 Payee Data Fonn and promptly return it to Defendant Chavez's counsel of record, the Nield Law
 Group, APC. Plaintiff will be responsible to pay all outstanding liens, frnes and financial
 obligations against Plaintiff known or unknown, including but not limited to any and all child
 support owed by Plaintiff.

         4.       Plaintiff shall complete aPayee Data Form to enable payment and credit toward
 his restitution obligations. Plaintiff shall retum the completed Payee Data Forms to counsel for
 Defendant Chavez as soon as reasonably possible.

          5. CDCR will make a good-faith effort to pay the settlement amount (minus any
 restitution amounts, liens and fees) within 180 days from the date Plaintiff delivers to Defendants
 a signed settlement agreement, a notice of voluntary dismissal with prejudice, and all of the
 required Payee Data Forms. Plaintiff understands that payment may be delayed by the lack of a
 State budget, a funding shortfall despite a State budget, the processing efforts of the State
 Controller's Office, and other events not attributable to Defendants or CDCR. Unless expressly
 stated otherwise, no interest shall be paid on the settlement amount.

         6.        No other monetary sum will be paid to Plaintiff.

         7,        Attomey fees and oosts will be within the discretion of the Court.

         8.        There are no other actions required on the parl of CDCR or Defendants.

                                      IV. GENERAL RELEASE
         It is the intention of the parties in signing this Agreement that it shall be effective as a fuil
 and final accord and satisfaction and release from all claims asserted in the Complaint against
 any and allDefendants. By signing this Agreement, Plaintiff releases CDCR, Defendants,
 whether named or unnamed and whether served or unserved, and any other past or current
 CDCR employees from all claims, past, present and future, known or unknown, that arise or
 could arise from the facts alleged in the Compiaint.

        In furtherance of this intention, the parties acknowledge that they are familiar with, and
 expressly waive, the provisions of California Civil Code section 1542, which states:

         A general release does not extend to claims which the creditor does not know or
         suspect to exist in his or her favor at the time of executing the reiease, r,vhich if
         known by him or her must have materially affected his or her settlement with the
         debtor.



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 COREY MITCHEL\ #F-23331 v. DAVIGA, et al,,CaseNo. 1:13-cv-01324-DAD (EPG)
 Settlement Agreement and Reiease
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        This Agreement is the compromise of various disputed claims and shall not be treated as
 an admission of liability by any of the parties for any purpose. The signature of or on behalf of
 the respective parties does not indicate or acknowledge the validity or merits of any claim or
 demand of the other party.

                                V. SUCCESSORS AND ASSIGNS
        This Agreement shall be binding on the parties and their respective officers, agents,
 administrators, successors, assignees, heirs, executors, trustees, attorneys, only to the extent this
 agreement applies to attorneys, consultants, and any committee or arrangement of creditors
 organized with respect to the affairs of any such party.

        Plaintiff represents that he owns the interests, rights, and claims that are the subject
 matier of this Agreement. Plaintiffand his principals, agents, successors, assigns, heirs,
 descendants, executors, representatives, partners, and associates fully release and discharge the
 other parties and their principals, agents, attorneys, successors, assigns, heirs, descendants,
 executors, representatives, partners, and associates from all rights, claims, and actions that
 Plaintiff and his successors now may have or at any time in the future may have against the other
 parties and their successors arising out of the events alleged in the complaint.

                        VI. REPRESENTATIONS AND WARRANTIES
        No other consideration. The consideration recited in this Agreement is the only
 consideration for this Agreement, and no representations, promises, or inducements have been
 made to the parties, or any of their representatives, other than those set forth in this Agreement.

         Execution in cgunferpart. This Agreement may be executed simultaneously in one or
 more counterparts, each of which shall be deemed an original, but all of which together shall
 constitute one and the same instrument.

         Execution of fi¿rther documents. Each party to this Agreement shall complete, execute or
 cause to be executed such further and other documents as are reasonably needed to caffy out the
 expressed intent and purpose of this Agreement.

        Entire agreement. This Agreement constitutes a single, integrated agreement expressing
the entire agreement of the parties, and there are no other agreements, written or oral, express or
implied, between the parties, except as set forth in this Agreement.

         No oral modifigations or waiver. No supplement, modification, or amendment to this
 Agreement shall be binding unless executed in writing by all the parties. No waiver of any
 provision of this Agreement shall be binding unless executed in writing by the party making the
 waiver. No waiver of any provision of this Agreement shall be deemed, or shall constitute, a
 waiver of any other provision, whether or not similar, nor shall any waiver constitute a
 continuing waiver.

         Governing law. Unless expressly stated otherwise in this Agreement, the terms,
 conditions, and provisions of this Agreement are governed by and interpreted under California
 state law.


 COREY MITCHELL, #F-23331v, DAVIGA, et al.,CaseNo. 1:13-cv-01324-DAD (EpG)
 Settlement Agreement and Release
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           ,SçyerabiliiV. 'should aqy provisíon qf this Agreement be lield invalid or íllegql, such
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           ¡l&,rceatrílity- Thc'Gourt shall .r'etain jurisdiction .over enforcement of .thE settlement
           E.

  agt'ee.ment, including, but not ti¡nited: to, intelp{çtaliqn Snd qnf.orceme¡rt of the sertlemçnt
  êgrBcftent.




           f,he undersigned agree to tþedbove:



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                                                  Rçl¡ab!litation No. F'2J33 I



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  Approvcd as !p foqm;


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                                                       L. Ìlïiomas
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  Dated                                    Brv:
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  Datbd:        0                          Byr
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                                                  Counsel fsr Defendanf G. Chavez




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          $çvelability. Shor:.Id.áry pto\.ision:of this.Agreement be held,.invaiíd or illegal, such
 iliegality shall'noLiiwaiidate the whpte of tliis Agregment" butthe.Agree.il€¡rt shall be:co¡slrucd
 as if it did¡ot¿ontaiir the illcgal part, andthc rights.and oþligatìons ofthe parfiçs shall be
 qonstrueð and ontbr,oed acöcirdingly:

        Enforceabilir¡¡. Thç Court shail retain jurisdiction over enforcemept of the sqttlèmçht
 agreeirient, inclu<ling, but not'Iimíted tö, interpretation and enforcement ot: the settlement
 agreement.




          The unde¡signed aggee to the above:



 Dated:                                          By

                                                                    Dep!. of Coneciions lL
                                                                        No. Þ':23331



 Ðatedr       o                                  By.;

                                                        California Correctionâl Idstitutio:r


 Appioved'as tb f,orm;



 Þated:                                          B)':
                                                        -rustin L, Thoma$
                                                        Counsel for Plaintiff Core].' li,f itchcil



 Ðated:                                          By,

                                                                  fô¡ Defenaa¡rt Lt, Sheldon


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                                                        .Cquns.çl for Defendant G. Chavez




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